                         IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
STEPHEN MCGINLEY and LISA                :
MOONEY, individually, and as             :
husband and wife,                        :    CIVIL CASE NO.:
2609 Madara Road                         :
Bensalem, PA 19020,                      :
                         Plaintiffs,     :
                                         :
         vs.                             :
                                         :
LM GENERAL INSURANCE COMPANY :
a/k/a, f/k/a, and/or d/b/a LIBERTY       :    JURY TRIAL DEMANDED
MUTUAL INSURANCE COMPANY                 :
175 Berkeley Street                      :
Boston, MA 02116,                        :
                         Defendant.      :
____________________________________​:

                             CIVIL ACTION COMPLAINT

       Plaintiffs, STEPHEN MCGINLEY and LISA MOONEY, by and through their attorneys,

Green & Schafle LLC, state that they have multiple causes of action against Defendant, LM

GENERAL INSURANCE COMPANY a/k/a, f/k/a, and/or d/b/a LIBERTY MUTUAL

INSURANCE COMPANY, and in support thereof, upon information and belief, aver the

following:

                                        PARTIES

       1.     Plaintiffs, STEPHEN MCGINLEY and LISA MOONEY, are citizens of the

Commonwealth of Pennsylvania, residing at 2609 Madara Road, Bensalem, PA 19020 in Bucks

County.

       2.     Defendant, LM General Insurance Company a/k/a, f/k/a, and/or d/b/a Liberty

Mutual Insurance Company (hereinafter “LM General Insurance”), is a corporation and/or other

business entity authorized to conduct business in the Commonwealth of Pennsylvania, and
regularly conducts business in Philadelphia, Bucks, Montgomery, and Chester counties, with its

principal place of business located at 175 Berkeley St., Boston, MA 02116.

       3.      Defendant, LM General Insurance, was at all times material hereto, an insurance

company, duly authorized and licensed to practice its profession by the Commonwealth of

Pennsylvania, and was engaged in the practice of providing insurance policies, including motor

vehicle liability policies including underinsured and uninsured motorist coverage.

                                JURISDICTION AND VENUE

       4.      The cause of action described hereinafter accrued in the Commonwealth of

Pennsylvania, Philadelphia County, which was the place of the motor vehicle accident that gives

rise to the underlying Underinsured Motorist Complaint.

       5.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 as

Plaintiffs and Defendant are citizens of different states and the amount in controversy is in

excess of $75,000.00, exclusive of interest and cost.

       6.      Venue is proper in the Eastern District of Pennsylvania pursuant to 28 U.S.C. §

1391(a) because the policy giving rise to Plaintiffs’ claims was issued in this Judicial District, a

substantial part of the events or omissions giving rise to the claim occurred in this Judicial

District, and because Defendant regularly conducts business within the Judicial District.

                                             FACTS

       7.      On or about June 2, 2017, at or about 4:00 p.m., Plaintiff, STEPHEN

MCGINLEY, was lawfully operating his vehicle on Interstate 95 at or near the Cottman Avenue

Exit, in Philadelphia, Pennsylvania.

       8.      At the aforesaid date and time, Plaintiff STEPHEN MCGINLEY’s vehicle was

stuck in the rear by a vehicle owned and/or operated by Steven Herman, the force of which
caused Plaintiff's vehicle to be pushed forward striking the vehicle in front of Plaintiff’s vehicle.

       9.      As a result of the collision, Plaintiff, STEPHEN MCGINLEY, sustained serious

personal injuries and other financial losses as set forth herein.

       10.     At the time of the aforesaid motor vehicle collision, Steven Herman was insured

with Progressive Insurance Company and maintained liability insurance coverage in the amount

of Fifty Thousand ($50,000.00) Dollars.

       11.     Following receipt of Plaintiff’s, STEPHEN MCGINLEY, accident related

medical records, medical bills, wage loss, and other accident related documentation, Progressive

Insurance Company tendered Forty-Nine Thousand ($49,000.00) Dollars to Plaintiffs.

       12.     Notice of the aforesaid covered loss and Plaintiffs’ intent to pursue Underinsured

Motorist benefits was provided to the Defendant, LM General Insurance, in a prompt and timely

manner by Plaintiffs and, at all times relevant hereto, Plaintiff fully complied with all of the

terms and conditions required by the policy.

       13.     On April 15, 2020, Defendant, LM General Insurance, by and through their agent,

servant and/or employee, Rebecca Harris, gave consent to settle the Plaintiffs’ claims against

Steven Herman in the amount of Forty-Nine Thousand ($49,000.00) Dollars.

       14.     The aforesaid collision was caused solely and exclusively by reason of the

negligence of Steven Herman, and was due in no manner whatsoever to any act or failure to act

on the part of the Plaintiffs, STEPHEN MCGINLEY and LISA MOONEY.

       15.     Negligence and carelessness of Steven Herman consisted of, but is not limited to:

                  a.   operation of a motor vehicle without paying the proper attention
                       required;

                  b.   operation of a motor vehicle at an unsafe speed under the
                       circumstances;
                  c.   failing to operate a motor vehicle in a fashion so as to avoid a
                       collision with another motor vehicle;

                  d.   operation of a motor vehicle in a negligent and/or careless manner
                       without regard for the rights or safety of Plaintiffs and others;

                  e.   failing to regard the point, position and safety of the Plaintiff and
                       others;

                  f.   failing to have said motor vehicle under proper and adequate
                       control;

                  g.   violation of the "assured clear distance rule" as it pertains to the
                       accident herein under the circumstances set forth;

                  h.   failing to be aware and cognizant of existing roadway conditions,
                       i.e., other traffic, traffic control devices, etc.;

                  i.   failing to take all reasonable and prudent measures to avoid striking
                       a motor vehicle;

                  j.   failing to inspect Defendant’s motor vehicle and/or to maintain said
                       motor vehicle in a safe and non-defective condition;

                  k.   on information and belief and subject to discovery, operation of a
                       motor vehicle which was not in proper working condition at the
                       time of the accident;

                  l.   failing to operate a motor vehicle in compliance with the applicable
                       laws and ordinances of Philadelphia County and the
                       Commonwealth of Pennsylvania pertaining to the operation and
                       control of motor vehicles;

                  m. on information and belief and subject to discovery, violation of the
                     Pennsylvania Vehicle Code, specifically the rules regarding ​having
                     due ​regard for the speed of the vehicles and the traffic upon and the
                     condition of the highway.

       16.     As a direct result of the carelessness and negligence of Steven Herman, as set

forth more fully above, Plaintiff, STEPHEN MCGINLEY, suffered severe back injuries

including, but not limited to, disc protrusions at L1-2 and disc protrusions at L4-5 toward the left

neural foramen, radiculopathy down both of his legs, and right sacroiliac joint dysfunction.
       17.     As a direct result of the carelessness and negligence of Steven Herman, as set

forth more fully above, Plaintiff, STEPHEN MCGINLEY, sought medical treatment in and

about an effort to cure himself of his injuries and has incurred medical expenses in and about an

effort to cure himself of his injuries, to his great detriment and loss, and he may continue to

require same for an indefinite time in the future.

       18.     As a direct result of the carelessness and negligence of Steven Herman, as set

forth more fully above, Plaintiff, STEPHEN MCGINLEY, has in the past and will in the future

be prevented from performing his usual duties, occupation, and has suffered and will suffer a

loss of earning and earning capacity.

       19.     As a direct result of the carelessness and negligence of Steven Herman, as set

forth more fully above, Plaintiff, STEPHEN MCGINLEY, has in the past and will in the future

continue to suffer severe pain, mental anguish, humiliation, embarrassment, loss of well-being,

loss of the ability to engage in normal activities and the ability to pursue and enjoy the normal

and ordinary pleasures of life.

       20.     At all times relevant hereto Plaintiff, LISA MOONEY, was wife of Plaintiff,

STEPHEN MCGINLEY.

       21.     As a result of the carelessness and negligence of Steven Herman, as set forth more

fully above, Plaintiff, LISA MOONEY, has been deprived of the earnings, society, conjugal

fellowship, loss of consortium, and services of her husband, STEPHEN MCGINLEY.

                    COUNT I - UNDERINSURED MOTORIST CLAIM
  Plaintiffs, Stephen Mcginley And Lisa Mooney, vs. Defendant, LM General Insurance

       22.     Plaintiffs incorporate by reference the preceding paragraphs as though the same

were set forth at length herein.

       23.     At the time of the aforesaid motor vehicle accident, Steven Herman was insured
by Progressive Insurance Company with bodily injury liability coverage in the amount of Fifty

Thousand ($50,000.00) Dollars.

       24.     Steven Herman’s bodily injury liability coverage in the amount of Fifty Thousand

($50,000.00) Dollars was not adequate to fully compensate Plaintiffs for their injuries and other

losses including financial losses they sustained as a result of the negligence and carelessness of

Steven Herman.

       25.     On June 2, 2017, the date of the aforesaid motor vehicle accident, Plaintiffs,

STEPHEN MCGINLEY and LISA MOONEY, maintained a policy of automobile insurance

coverage they purchased from Defendant, LM General Insurance, by and through their agents,

servants and/or employees and/or ostensible agents, which was written and issued in accordance

with the Motor Vehicle Financial Responsibility Laws of Pennsylvania (75 Pa. C.S.A. §1702, et

seq.) under LM General Insurance policy number AOS-288-056963-75. A copy of the

Automobile Policy is attached hereto as “A.”

       26.     The aforesaid LM General Insurance policy number AOS-288-056963-75

provided for Underinsured Motorist coverage in the amount of One Hundred Thousand

($100,000.00) Dollars.

       27.     The aforesaid policy of insurance issued by Defendant, LM General Insurance,

was in full force and effect on June 2, 2017.

       28.     Plaintiffs have made a demand for a tender of the full limit of Underinsured

Motorist coverage in the amount of One Hundred Thousand ($100,000.00) Dollars. To date, the

Defendant has not tendered an offer to resolve this matter.

       29.     As a result of the refusal of the Defendant herein to tender the Underinsured

Motorist coverage, Plaintiffs filed the instant action to recover those benefits.
       WHEREFORE​, Plaintiffs demand judgment against Defendant in an amount in excess

of Seventy-Five Thousand ($75,000.00) Dollars, for all available compensatory damages to be

awarded in accordance with applicable state laws, and in excess of the prevailing arbitration

limits, exclusive of prejudgment interest, post-judgment interest, and costs.

                        COUNT II – BREACH OF CONTRACT
  Plaintiffs, Stephen Mcginley And Lisa Mooney, vs. Defendant, LM General Insurance

       30.     Plaintiffs incorporate by reference the preceding paragraphs as though the same

were set forth at length herein.

       31.     Defendant, LM General Insurance, owes Plaintiffs a fiduciary, contractual, and

statutory obligation to investigate, evaluate, and negotiate Plaintiffs’ Underinsured Motorist

claim in good faith and to arrive at a prompt, fair, and equitable settlement.

       32.     By virtue of its conduct as averred above, Defendant, LM General Insurance,

breached its obligations under the Underinsured Motorist provisions of the Policy.

       33.     By virtue of the breach of its obligations by Defendant, LM General Insurance,

Plaintiffs sustained significant consequential damages, including those relating to the harm

averred above, and has been otherwise damaged in the manner set forth above.

       WHEREFORE​, Plaintiffs demand judgment against Defendant in an amount in excess

of Seventy-Five Thousand ($75,000.00) Dollars, for all available compensatory damages to be

awarded in accordance with applicable state laws, and in excess of the prevailing arbitration

limits, exclusive of prejudgment interest, post-judgment interest, and costs.

                               COUNT III – BAD FAITH
  Plaintiffs, Stephen Mcginley And Lisa Mooney, vs. Defendant, LM General Insurance

       34.     Plaintiffs incorporate by reference the preceding paragraphs as though the same

were set forth at length herein.
        35.     The actions of Defendant, LM General Insurance, have been unreasonable,

reckless and contrary to its contractual obligations, including but not limited to its duty of good

faith and fair dealing.

        36.     The unreasonable and reckless conduct of Defendant, LM General Insurance, is

exemplified by the conduct described above and its:

                    a. refusing and attempting to avoid paying benefits to Plaintiffs, even
                       though the facts of their claim supported such a payment;

                    b. compelling litigation by unreasonably forcing Plaintiffs to institute
                       litigation to receive the protections, benefits and remedies due and
                       owing under the Policy and Pennsylvania statutory and regulatory
                       law;

                    c. placing its own interests ahead of those of its insured;

                    d. refusing without a reasonable basis to pay benefits due and owing
                       under the Policy;

                    e. dilatory claims handling;

                    f. abusive claims handling;

                    g. affording an unduly restrictive interpretation of Policy provisions;

                    h. acting unreasonably and unfairly in responding to Plaintiffs’ claim;

                    i. failing to objectively and fairly investigate and evaluate Plaintiffs’
                       claim;

                    j. unreasonably withholding Policy benefits owing Plaintiffs;

                    k. failing to make any reasonable offer to resolve Plaintiffs’ claim for
                       underinsured motorist benefits;

                    l. failing to pay benefits to Plaintiffs even those underinsured
                       motorist benefits its own evaluation and investigation,
                       unreasonable and arbitrary as they were, indicated were due and
                       owing; and
                   m. otherwise acting in bad faith and without a reasonable basis with
                      actual or constructive knowledge of the lack of a reasonable basis
                      for its actions as discovery may later demonstrate.

       37.     At all relevant times, Defendant, LM General Insurance, actions were willful,

wanton, reckless and intentional and were based upon and motivated by its pursuit of monetary

gain without regard for the resulting damage and injury and deprivation of insurance benefits due

and owing to Plaintiffs.

       38.     By virtue of its conduct, Defendant, LM General Insurance, violated the Policy’s

covenant of good faith and fair dealing and committed bad faith, including that conduct

constituting bad faith under 42 Pa. C.S.A. § 8371, for which it is liable for interest on the claim

from the date the claim was made in an amount equal to the prime rate of interest plus three

percent (3%), court costs, attorney fees, punitive damages and such other compensatory,

consequential and extra-contractual damages allowed by law.

       WHEREFORE​, Plaintiffs demand judgment against Defendant in an amount in excess

of Seventy-Five Thousand ($75,000.00) Dollars, for all available compensatory damages to be

awarded in accordance with applicable state laws, and in excess of the prevailing arbitration

limits, exclusive of prejudgment interest, post-judgment interest, and costs.

                           ​COUNT IV – UNFAIR TRADE PRACTICES
                        AND CONSUMER PROTECTION LAW
  Plaintiffs, Stephen Mcginley And Lisa Mooney, vs. Defendant, LM General Insurance

       39.     Plaintiffs incorporate by reference the preceding paragraphs as though the same

were set forth at length herein.

       40.     By virtue of its conduct, Defendant, LM General Insurance, has committed acts of

malfeasance and unfair, deceptive, deceitful and/or fraudulent business practices prohibited by

Pennsylvania’s Unfair Trade Practices and Consumer Protection Law, 73 P.S. § 201, et. seq.
       41.     By virtue of the unfair, deceptive, deceitful and/or fraudulent conduct of

Defendant, LM General Insurance, Plaintiffs have sustained the damages set forth above.

       WHEREFORE​, Plaintiffs demand judgment against Defendant in an amount in excess

of Seventy-Five Thousand ($75,000.00) Dollars, for all available compensatory damages to be

awarded in accordance with applicable state laws, and in excess of the prevailing arbitration

limits, exclusive of prejudgment interest, post-judgment interest, and costs.




                                                     Respectfully submitted,

                                                     GREEN & SCHAFLE, LLC




Date: February 5, 2021                           BY:___________________________________
                                                   ADAM M. GREEN, ESQUIRE
                                                   I.D. NO.: 93060




Date: February 5, 2021                           BY:___________________________________
                                                   STEPHEN M. SPECHT, ESQUIRE
                                                   I.D. NO.: 326398
                                                   2332 South Broad Street
                                                   Philadelphia, PA 19145
                                                   Phone: (215) 462-3330
                                                   Fax: (215) 567-1941

                                                     ATTORNEYS FOR PLAINTIFFS
EXHIBIT A
                                                                                        Liberty Mutual Insurance

                                                                                        350 E. 96th Street
                                                                                        Indianapolis, IN 46240




  August 14, 2020




  Becky Harris
  PO Box 515097
  Los Angeles, CA 90051




  Insured Name:                        Lisa A Mooney
                                       Stephen McGinley
  Policy Number:                       AOS28805696375
  Date of Loss:                        06/02/2017
  Policy Effective:                    04/28/2017



I hereby certify that the attached is a true and accurate copy of the documents requested for the policy listed
above as maintained by the LM General Insurance Company in the usual and customary course of its
business.




                                             Kaylin McClure
                                             Policy Copy Support


  KM
  Enclosures
     Questions about your Policy?         Policy Number:                     Report a Claim:
     Call 1-800-778-1930                  AOS-288-056963-75 7 5              1-888-775-5459 or
                                                                             LibertyMutual.com/claims

     ACTION REQUIRED:
     PLEASE REVIEW AND KEEP FOR YOUR RECORDS.




     Policy Declarations
     Total Annual Premium: $3,506.00
     Reason for your new declarations page: Policy Change 02
     Please refer to the Change Detail section for more information.
     Effective date of this change: 04/28/2017

     Your discounts and benefits have been applied. Includes state sales tax and local surcharge where applicable.


     Insurance Information

     Named Insured:       Lisa A Mooney                     Policy Number:          AOS-288-056963-75 7 5
                          Stephen McGinley

     Mailing Address: 2609 Madara Rd                        Policy Period:          04/04/2017-04/04/2018 12:01 a.m.
                      Bensalem PA 19020-1318                                        standard time at the address of the
                                                                                    Named Insured
                                                            Declarations Effective: 04/28/2017

     Vehicles Covered by Your Auto Policy
             YEAR                    MAKE                           MODEL                     VEHICLE ID NUMBER
     1       2014                    TOYOTA                         CAMRY                     4T1BF1FKXEU356103
     2       2015                    GMC                            SIERRA                    3GTU2WEC9FG321069
     3       2015                    KIA                            OPTIMA                    5XXGN4A75FG517689
     Driver Information
             NAME                       STATE                       NAME                       STATE
     1       Lisa A Mooney              PA                  2       Stephen McGinley           PA
     To ensure proper coverage, please contact us to add drivers not listed above.



         DISCOUNTS AND BENEFITS SECTION
         Your discounts and benefits have been applied to your Total Annual Policy Premium.
         Vehicle Discounts
                                                      VEH 1       VEH 2       VEH 3
                                                       2014        2015        2015
                                                    TOYOTA         GMC           KIA
                                                     CAMRY       SIERRA      OPTIMA

         Anti-Theft Device Discount                     •           •           •
         Vehicle Safety Discount                        •           •           •




AUTO 4210 05 16               THIS IS NOT YOUR AUTO INSURANCE BILL. YOU WILL BE BILLED SEPARATELY.                Page 1 of 4
     Want to Add a Coverage?                  Policy Number:                      Report a Claim:
     Call 1-800-778-1930 to talk to           AOS-288-056963-75 7 5               1-888-775-5459 or
     your agent about the availability                                            LibertyMutual.com/claims
     of this coverage and whether it
     meets your needs.


         DISCOUNTS AND BENEFITS SECTION continued
         Policy Discounts
         •   Early Shopper Discount               •   Paperless Policy Discount           •   Electronic Funds Transfer
                                                                                              Discount
         •   Multi-Car Discount



      Coverage Information
     Your total annual policy premium for all covered vehicles is shown below. A premium is shown for each type of
     coverage you have purchased for each vehicle. Where no premium is shown, you have not purchased the
     indicated coverage for that vehicle.
     THIS POLICY COVERS COLLISION DAMAGE TO RENTAL VEHICLES.

     COVERAGE                           LIMITS                                    PREMIUM PER VEHICLE
                                                                                VEH 1            VEH 2       VEH 3
                                                                                 2014             2015        2015
                                                                              TOYOTA              GMC           KIA
                                                                               CAMRY            SIERRA      OPTIMA
     A. Liability
     Bodily Injury                      $      100,000 Each Person                 $192            $182        $208
                                        $      300,000 Each Accident
     Property Damage                    $      100,000 Each Accident               $131            $147        $130
     Limited Tort Option Selected

     C. Uninsured Motorists
     Uninsured Motorists                $      100,000 Each Person                  $19             $21          $19
     Bodily Injury                      $      300,000 Each Accident
     Limited Tort Option Selected

     Underinsured Motorists
     Underinsured Motorists             $      100,000 Each Person                  $49             $56          $49
     Bodily Injury                      $      300,000 Each Accident
     Limited Tort Option Selected

     D. Coverage for Damage to Your Auto
     Collision                                                                     $482            $478        $507
     Actual Cash Value Less
     Deductible Shown
     Veh 1 $500                          Veh 2 $500
     Veh 3 $500
     Other Than Collision                                                          $157            $210        $145




AUTO 4210 05 16                   THIS IS NOT YOUR AUTO INSURANCE BILL. YOU WILL BE BILLED SEPARATELY.                    Page 2 of 4
     Want to Add a Coverage?              Policy Number:                   Report a Claim:
     Call 1-800-778-1930 to talk to       AOS-288-056963-75 7 5            1-888-775-5459 or
     your agent about the availability                                     LibertyMutual.com/claims
     of this coverage and whether it
     meets your needs.



      Coverage Information continued
     COVERAGE                       LIMITS                                PREMIUM PER VEHICLE
                                                                           VEH 1        VEH 2         VEH 3
                                                                            2014         2015          2015
                                                                         TOYOTA          GMC             KIA
                                                                          CAMRY        SIERRA        OPTIMA
     D. Coverage for Damage to Your Auto (continued)
     Actual Cash Value Less
     Deductible Shown
     Veh 1 $500                       Veh 2 $500
     Veh 3 $500
     First Party Benefits
     First Party Benefits                                                   $112          $104         $108
     5,000 Medical Expense
     1,500 Funeral Expense
     5,000 Income Loss
     5,000 Accidental Death
     Limited Tort Option Selected

       Annual Premium Per Vehicle :                                       $1,142       $1,198        $1,166


     Premium Adjustment from 04/28/2017 to 04/04/2018

                                                                           VEH 1         VEH 2        VEH 3
                                                                             $52           $53          $53
     Total Adjustment: $158.00


                                                                    Total Annual Policy Premium: $3,506.00

     Valuable Benefits Included in Your Policy
     We want to make sure you are aware and taking advantage of the following benefits included in your policy
     simply for being our customer.
        24-Hour Claims Assistance: You never know when you'll have an accident, but if you do, our claims team
        will be available 24/7 to quickly handle your claim by phone, online, or on your mobile device.
        Lifetime Repair Guarantee: If you have an accident, we'll make sure your car is fixed right. Choosing one of
        our Guaranteed Repair Network shops will guarantee the repairs for as long as you own your car.

     Additional Information for Vehicles Covered by Your Policy

     Loss Payee(s)                                                  Month/Year Expires
     VEH 1: TOYOTA FINANCIAL                                        05/2017
     VEH 2: GM FINANCIAL                                            07/2018
     VEH 3: HYUNDAI LEASE AND TITLE                                 03/2021

AUTO 4210 05 16               THIS IS NOT YOUR AUTO INSURANCE BILL. YOU WILL BE BILLED SEPARATELY.               Page 3 of 4
     Questions about your Policy?            Policy Number:                   Report a Claim:
     Call 1-800-778-1930                     AOS-288-056963-75 7 5            1-888-775-5459 or
                                                                              LibertyMutual.com/claims




     Additional Information for Vehicles Covered by Your Policy (continued)

     Vehicles Owned by Other Than the Named Insured
     VEH 1: TOYOTA FINANCIAL
     VEH 2: GM FINANCIAL

     Change Detail
     Changes made to your policy for: Policy Change 02
       Remove RightTrack Vehicle 1,2,3

     Policy Forms and Endorsements: The following forms and endorsements are applicable to your policy.
      Uninsured Motorists Coverage - Pennsylvania                    Underinsured Motorists Coverage - Pennsylvania
      (Non-Stacked) AS3688 06 16                                     (Non-Stacked) AS3690 06 16
      Pennsylvania First Party Benefits Coverage                     Limited Tort Alternative Information Notice
      Endorsement PP 05 51 11 92                                     AS2108 04 99
      Split Underinsured Motorists Limits Pennsylvania               Split Uninsured Motorists Limits Pennsylvania
      (Non-Stacked) PP 04 16 07 90                                   (Non-Stacked) PP 04 20 07 90
      Split Liability Limits PP 03 09 04 86                          Additional Insured - Lessor AS1187 11 90
      Nuclear, Bio-Chemical & Mold Exclusion Endorsement             Coverage For Damage To Your Auto Exclusion
      AS2221 04 05                                                   Endorsement PP 13 01 12 99
      Loss Payable Clause PP 03 05 08 86

     LibertyGuard Auto Policy Declarations provided and underwritten by LM General Insurance Company (a stock
     insurance company), Boston, MA.




                     President                                               Secretary




      This policy, including endorsements listed above,
      is countersigned by:
                                                                             Authorized Representative




AUTO 4210 05 16                  THIS IS NOT YOUR AUTO INSURANCE BILL. YOU WILL BE BILLED SEPARATELY.                 Page 4 of 4
         To serve you best...
         Liberty Mutual has over 350 service offices throughout the United States
         and Canada. Please contact your service office shown on your Declarations
         Page to report losses, or for any changes or questions about your insurance.
         Payments should be sent to the office indicated on your bill.




         THIS POLICY IS NONASSESSABLE                                                   Liberty Mutual Insurance Group


AUTO 3075PA 06 16
 LIBERTYGUARD AUTO POLICY
 QUICK REFERENCE
 DECLARATIONS PAGE
 Your Name and Address
 Your Auto or Trailer
 Policy Period
 Coverages and Amounts of Insurance                                                             Beginning
                                                                                                On Page
  Agreement . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1
  Definitions     .................... ........................ 1
 PART A - LIABILITY COVERAGE
  Insuring Agreement . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         3
  Supplementary Payments . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             3
  Exclusions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     3
  Limit of Liability . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   5
  Out of State Coverage . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          5
  Financial Responsibility . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       5
  Other Insurance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      5
 PART B - MEDICAL PAYMENTS COVERAGE
  Insuring Agreement . .          .................. ..................                                  5
  Exclusions . . . . . . . .      ....................................                                   6
  Limit of Liability . . . . .    ............... .....................                                  6
  Other Insurance . . . .         .... ................................                                  7
 PART C - UNINSURED MOTORISTS COVERAGE
  Insuring Agreement . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         7
  Exclusions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     8
  Limit of Liability . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     8
  Other Insurance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      8
  Arbitration . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    8
 PART D - COVERAGE FOR DAMAGE TO YOUR AUTO
  Insuring Agreement . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. . . . . . . . .        9
  Transportation Expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          10
  Exclusions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     10
  Limit of Liability . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   12
  Payment of Loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        12
  No Benefit to Bailee . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       13
  Other Sources of Recovery . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            13
  Appraisal . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    13
 PART E - DUTIES AFTER AN ACCIDENT OR LOSS
  General Duties .       . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13
  Additional Duties      for Uninsured Motorists
  Coverage . . . .       . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13
  Additional Duties      for Coverage for Damage to
  Your Auto . . . .      . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
 PART F - GENERAL PROVISIONS
   Bankruptcy . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
   Changes . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
   Fraud . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
   Legal Action Against Us . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15
   Our Right To Recover Payment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15
   Policy Period And Territory . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15
   Termination . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15
   Transfer Of Your Interest In This Policy . . . . . . . . . . . . . . . . . . . . . . . . . 16
   Two Or More Auto Policies . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17
  *MUTUAL POLICY CONDITIONS . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17
*These conditions apply only if Liberty Mutual Fire Insurance Company is shown in the Declarations as
the insurer.
AUTO POLICY
AGREEMENT
In return for payment of the premium and subject to all the terms of this policy, we agree with you as
follows:
DEFINITIONS
A. Throughout this policy, "you" and "your" refer to:
   1. The "named insured" shown in the Declarations; and
   2. The spouse if a resident of the same household.
   3. The partner in a civil union, registered domestic partnership or other similar union, with the
        "named insured" shown on the Declarations, if a resident of the same household.
        The above, only applies if the civil union, registered domestic partnership or other similar union
        was validly entered into under the laws of any state, municipality, or territory of the United
        States or any other country.
        If the spouse or partner defined above is no longer a resident in the same household during the
        policy period or prior to the inception of the policy, the spouse or partner will be considered
        "you" and "your" under this policy until the earlier of:
        a. The end of 90 days following the change of residency;
        b. The effective date of another policy listing the spouse or partner defined above as a named
             insured; or
        c. The end of the policy period.
B. "We," "us" and "our" refer to the Company providing this insurance.
C. For purposes of this policy, a private passenger type auto shall be deemed to be owned by a person
   if leased:
   1. Under a written agreement to that person; and
   2. For a continuous period of at least 6 months.
Other words and phrases are defined. They are in quotation marks or boldfaced when used.
D. "Bodily injury" means bodily harm, sickness or disease, including death that results.
E. "Business" includes trade, profession or occupation.
F. "Family member" means a person related to you by blood, marriage or adoption who is a resident of
   your household. This includes a ward or foster child.
G. “Newly acquired auto”:
   1. “Newly acquired auto” means any of the following types of vehicles you become the owner of
      during the policy period:
      a. A private passenger auto; or
      b. A pickup or van, for which no other insurance policy provides coverage, that:
          (1) Has a Gross Vehicle Weight of less than 10,000 lbs.; and
          (2) Is not used for the delivery or transportation of goods and materials unless such use is:
               (a) Incidental to your business of installing, maintaining or repairing furnishings or
                   equipment; or
               (b) For farming or ranching.
      For this definition to apply to a newly acquired auto, which is in addition to the vehicles listed in
      the Declarations, we must insure all other vehicles owned by you.
   2. Coverage for a newly acquired auto is provided as described below. If you ask us to insure a
      newly acquired auto after a specified time period described below has elapsed, any coverage we
      provide for a newly acquired auto will begin at the time you request the coverage.
      a. For any coverage provided in this policy except Coverage For Damage To Your Auto, a
          newly acquired auto will have the broadest coverage we now provide for any vehicle shown
          in the Declarations. Coverage begins on the date you become the owner.
                                                                                                       Page 1 of 17
              However, for this coverage to apply to a newly acquired auto that is in addition to any
              vehicle shown in the Declarations, you must ask us to insure it within 30 days after you
              become the owner.
              If a newly acquired auto replaces a vehicle shown in the Declarations, coverage is provided
              for this vehicle without your having to ask us to insure it.
          b. Collision Coverage for a newly acquired auto begins on the date you become the owner.
              However, for this coverage to apply, you must ask us to insure it within:
              (1) 30 days after you become the owner if the Declarations indicate that Collision Coverage
                   applies to at least one auto. In this case, the newly acquired auto will have the broadest
                   coverage we now provide for any auto shown in the Declarations.
              (2) Five days after you become the owner if the Declarations do not indicate that Collision
                   Coverage applies to at least one auto. If you comply with the 5 day requirement and a
                   loss occurred before you asked us to insure the newly acquired auto, a Collision
                   deductible of $500 will apply.
          c. Other Than Collision Coverage for a newly acquired auto begins on the date you become the
              owner. However, for this coverage to apply, you must ask us to insure it within:
              (1) 30 days after you become the owner if the Declarations indicate that Other Than
                   Collision Coverage applies to at least one auto. In this case, the newly acquired auto will
                   have the broadest coverage we now provide for any auto shown in the Declarations.
              (2) Five days after you become the owner if the Declarations do not indicate that Other
                   Than Collision Coverage applies to at least one auto. If you comply with the 5 day
                   requirement and a loss occurred before you asked us to insure the newly acquired auto,
                   an Other Than Collision deductible of $500 will apply.
H.   "Noneconomic loss" means pain and suffering and other nonmonetary detriment.
I.   "Occupying" means in, upon, getting in, on, out or off.
J.   “Personal vehicle sharing program” means a legal entity qualified to do “business” in this state and
     engaged in the “business” of facilitating the sharing of private passenger motor vehicles for
     noncommercial use by individuals within this state. Private passenger motor vehicle as it relates to
     “personal vehicle sharing program” means a four wheel passenger or station wagon type motor
     vehicle insured under an automobile liability insurance policy covering any individuals residing in
     your household.
K.   "Property damage" means physical injury to, destruction of or loss of use of tangible property.
L.   "Serious injury" means an injury resulting in death, serious impairment of body function or
     permanent serious disfigurement.
M.   "Trailer" means a vehicle designed to be pulled by a:
     1. Private passenger auto; or
     2. Pickup or van.
     It also means a farm wagon or farm implement while towed by a vehicle listed in 1. or 2. above.
N.   “Transportation network platform” means an online-enabled application or digital network used to
     connect passengers with drivers using vehicles for the purpose of providing prearranged
     transportation services for compensation.
O.   "Your covered auto" means:
     1. Any vehicle shown in the Declarations.
     2. A “newly acquired auto”.
          If the vehicle you acquire replaces one shown in the Declarations, it will have the same
          coverage as the vehicle it replaced. You must ask us to insure a replacement vehicle within 30
          days only if you wish to add or continue Coverage for Damage to Your Auto.
          If the vehicle you acquire is in addition to any shown in the Declarations, it will have the
          broadest coverage we now provide for any vehicle shown in the Declarations.
     3. Any "trailer" you own.

                                                                                                          Page 2 of 17
   4. Any auto or "trailer" you do not own while used as a temporary substitute for any other vehicle
      described in this definition which is out of normal use because of its:
      a. breakdown;                d. loss; or
      b. repair;                   e. destruction.
      c. servicing;
      This provision (J.4.) does not apply to Coverage for Damage to Your Auto.
PART A - LIABILITY COVERAGE
INSURING AGREEMENT
A. We will pay damages for "bodily injury" or "property damage" for which any "insured" becomes
    legally responsible because of an auto accident. We will settle or defend, as we consider
    appropriate, any claim or suit asking for these damages. In addition to our limit of liability, we will
    pay all defense costs we incur. Our duty to settle or defend ends when our limit of liability for this
    coverage has been exhausted. We have no duty to defend any suit or settle any claim for "bodily
    injury" or "property damage" not covered under this policy.
B. "Insured" as used in this Part means:
    1. You or any "family member" for the ownership, maintenance or use of any auto or "trailer."
    2. Any person using “your covered auto” with your express or implied permission. The actual use
         must be within the scope of that permission.
    3. For "your covered auto," any person or organization but only with respect to legal responsibility
         for acts or omissions of a person for whom coverage is afforded under this Part.
    4. For any auto or "trailer," other than "your covered auto," any other person or organization but
         only with respect to legal responsibility for acts or omissions of you or any "family member" for
         whom coverage is afforded under this Part. This provision (B.4.) applies only if the person or
         organization does not own or hire the auto or "trailer."
    However, for the purposes of this coverage, “insured” does not mean any person who is using
    “your covered auto” under a “personal vehicle sharing program.”
SUPPLEMENTARY PAYMENTS
In addition to our limit of liability, we will pay on behalf of an "insured:"
    1. Up to $250 for the cost of bail bonds required because of an accident, including related traffic
         law violations. The accident must result in "bodily injury" or "property damage" covered under
         this policy.
    2. Premiums on appeal bonds and bonds to release attachments in any suit we defend.
    3. Interest accruing after a judgment is entered in any suit we defend. Our duty to pay interest
         ends when we offer to pay that part of the judgment which does not exceed our limit of liability
         for this coverage.
    4. Up to $50 a day for loss of earnings, but not other income, because of attendance at hearings
         or trials at our request.
    5. Other reasonable expenses incurred at our request.
    6. Prejudgment interest awarded against the "insured" on the part of the judgment we pay. Any
         prejudgment interest awarded against the insured is subject to the applicable Pennsylvania Rules
         of Civil Procedure.
EXCLUSIONS
A. We do not provide Liability Coverage for any person:
    1. Who intentionally causes "bodily injury" or "property damage."
    2. For "property damage" to property owned or being transported by that person.
    3. For "property damage" to property:
         a. rented to;
         b. used by; or
         c. in the care of;
         that person.
         This exclusion (A.3.) does not apply to "property damage" to a residence or private garage.
                                                                                                       Page 3 of 17
   4. For "bodily injury" to an employee of that person during the course of employment. This
       exclusion (A.4.) does not apply to "bodily injury" to a domestic employee unless workers'
       compensation benefits are required or available for that domestic employee.
   5. For that “insured’s” liability arising out of the ownership or operation of a vehicle while it is
       being used as a public or livery conveyance. This includes but is not limited to any period of
       time while it is being used by any person who is logged into a “transportation network platform”
       as a driver, whether or not a passenger is “occupying” the vehicle. This exclusion (A.5.) does
       not apply to a share-the-expense car pool.
   6. While employed or otherwise engaged in the "business" of:
       a. selling;                  d. storing; or
       b. repairing;                e. parking;
       c. servicing;
       vehicles designed for use mainly on public highways. This includes road testing and delivery.
       This exclusion (A.6.) does not apply to the ownership, maintenance or use of "your covered
       auto" by:
       a. you;
       b. any "family member;" or
       c. any partner, agent or employee of you or any "family member."
   7. Maintaining or using any vehicle while that person is employed or otherwise engaged in any
       "business" (other than farming or ranching) not described in Exclusion A.6. This exclusion
       (A.7.) does not apply to the maintenance or use of a:
       a. private passenger auto;
       b. pickup or van that you own; or
       c. "trailer" used with a vehicle described in a. or b. above.
   8. Using a vehicle without a reasonable belief that that person is entitled to do so.
   9. For "bodily injury" or "property damage" for which that person:
       a. is an insured under a nuclear energy liability policy; or
       b. would be an insured under a nuclear energy liability policy but for its termination upon
           exhaustion of its limit of liability.
       A nuclear energy liability policy is a policy issued by any of the following or their successors:
       a. American Nuclear Insurers;
       b. Mutual Atomic Energy Liability Underwriters; or
       c. Nuclear Insurance Association of Canada.
   10. For “bodily injury” or “property damage” that results, or may reasonably be expected to result,
       from the intentional or criminal acts or omissions of an insured.
B. We do not provide Liability Coverage for the ownership, maintenance or use of:
   1. Any motorized vehicle having fewer than four wheels.
   2. Any vehicle, other than "your covered auto," which is:
       a. owned by you; or
       b. furnished or available for your regular use.
   3. Any vehicle, other than "your covered auto," which is:
       a. owned by any "family member;" or
       b. furnished or available for the regular use of any "family member."
       However, this exclusion (B.3.) does not apply to you while you are maintaining or "occupying"
       any vehicle which is:
       a. owned by a "family member;" or
       b. furnished or available for the regular use of a "family member."
   4. Any vehicle, while being used for:
       a. competing in; or
       b. practicing or preparing for any organized racing, speed, demolition, stunt or performance
           contest or related activity whether or not for pay.
                                                                                                    Page 4 of 17
LIMIT OF LIABILITY
A. The limit of liability shown in the Declarations for this coverage is our maximum limit of liability for
     all damages resulting from any one auto accident. This is the most we will pay regardless of the
     number of:
     1. "Insureds;"
     2. Claims made;
     3. Vehicles or premiums shown in the Declarations; or
     4. Vehicles involved in the auto accident.
B. We will apply the limit of liability to provide any separate limits required by law for bodily injury and
     property damage liability. However, this provision (B.) will not change our total limit of liability.
OUT OF STATE COVERAGE
If an auto accident to which this policy applies occurs in any state or province other than the one in
which "your covered auto" is principally garaged, we will interpret your policy for that accident as
follows:
A. If the state or province has:
     1. A financial responsibility or similar law specifying limits of liability for "bodily injury" or
          "property damage" higher than the limit shown in the Declarations, your policy will provide the
          higher specified limit.
     2. A compulsory insurance or similar law requiring a nonresident to maintain insurance whenever
          the nonresident uses a vehicle in that state or province, your policy will provide at least the
          required minimum amounts and types of coverage.
B. No one will be entitled to duplicate payments for the same elements of loss.
FINANCIAL RESPONSIBILITY
When this policy is certified as future proof of financial responsibility, this policy shall comply with the
law to the extent required.
OTHER INSURANCE
If there is other applicable liability insurance available any insurance we provide shall be excess over any
other applicable liability insurance. If more than one policy applies on an excess basis, we will bear our
proportionate share with other collectible liability insurance. However, any insurance we provide for a
temporary substitute vehicle provided by a motor vehicle dealer when “your covered auto” is being
transported, serviced, repaired or inspected by the motor vehicle dealer, shall be primary.
PART B - MEDICAL PAYMENTS COVERAGE
INSURING AGREEMENT
A. We will pay “usual and customary charges” incurred for necessary medical and funeral services
   because of "bodily injury:"
   1. Caused by accident; and
   2. Sustained by an "insured."
   We will pay only those expenses incurred for services rendered within 3 years from the date of the
   accident.
B. "Insured" as used in this Part means:
   1. You or any "family member:"
       a. while "occupying;" or
       b. as a pedestrian when struck by;
       a motor vehicle designed for use mainly on public roads or a trailer of any type.
   2. Any other person while "occupying" “your covered auto” with your express or implied
       permission. The actual occupation must be within the scope of that permission.
   3. Any other person while “occupying,” as a guest, an automobile not owned by you or a family
       member, while being operated by you or a family member.
   However, for the purposes of this coverage, “insured” does not mean any person who is
   “occupying” or using “your covered auto” under a “personal vehicle sharing program.”
C. “Usual and customary charges” as used in this Part means:
                                                                                                        Page 5 of 17
   The lowest of the following:
   1. The charge billed by the medical provider for covered treatment;
   2. The eightieth percentile charge for that covered treatment in the geozip area where the provider
       is located, as determined through the use of a FAIRHealth or similar database;
   3. The amount authorized by a state mandated fee schedule or by another law or regulation; or
   4. The amount authorized by a written PPN or PPO agreement to which the Medical Provider is a
       party.
   The “insured” shall not be responsible for payment of any reduction applied by us. If a medical
   provider disputes an amount paid by us, we will be responsible for resolving such disputes.
EXCLUSIONS
We do not provide Medical Payments Coverage for any person for "bodily injury:"
   1. Sustained while "occupying" any motorized vehicle having fewer than four wheels.
   2. Sustained while "occupying" "your covered auto" when it is being used as a public or livery
       conveyance. This includes but is not limited to any period of time while it is being used by any
       person who is logged into a “transportation network platform” as a driver, whether or not a
       passenger is “occupying” the vehicle. This exclusion (2.) does not apply to a share-the-expense
       car pool.
   3. Sustained while "occupying" any vehicle located for use as a residence or premises.
   4. Occurring during the course of employment if workers' compensation benefits are required or
       available for the "bodily injury."
   5. Sustained while "occupying," or when struck by, any vehicle (other than "your covered auto")
       which is:
       a. owned by you; or
       b. furnished or available for your regular use.
   6. Sustained while "occupying," or when struck by, any vehicle (other than "your covered auto")
       which is:
       a. owned by any "family member;" or
       b. furnished or available for the regular use of any "family member."
       However, this exclusion (6.) does not apply to you.
   7. Sustained while "occupying" a vehicle without a reasonable belief that that person is entitled to
       do so.
   8. Sustained while "occupying" a vehicle when it is being used in the "business" of an "insured."
       This exclusion (8.) does not apply to "bodily injury" sustained while "occupying" a:
       a. private passenger auto;
       b. pickup or van that you own; or
       c. "trailer" used with a vehicle described in a. or b. above.
   9. Caused by or as a consequence of:
       a. discharge of a nuclear weapon (even if accidental);
       b. war (declared or undeclared);
       c. civil war;
       d. insurrection; or
       e. rebellion or revolution.
   10. From or as a consequence of the following, whether controlled or uncontrolled or however
       caused:
       a. nuclear reaction;
       b. radiation; or
       c. radioactive contamination.
   11. Sustained while occupying any vehicle while being used for:
       a. competing in; or
       b. practicing or preparing for any organized racing, speed, demolition, stunt or performance
            contest or related activity whether or not for pay.
LIMIT OF LIABILITY
A. The limit of liability shown in the Declarations for this coverage is our maximum limit of liability for
   each person injured in any one accident. This is the most we will pay regardless of the number of:

                                                                                                       Page 6 of 17
     1. "Insureds;"
     2. Claims made;
     3. Vehicles or premiums shown in the Declarations; or
     4. Vehicles involved in the accident.
B. Any amounts otherwise payable for expenses under this coverage shall be reduced by any amounts
     paid or payable for the same expenses under Part A or Part C.
C. No payment will be made unless the injured person or that person's legal representative agrees in
     writing that any payment shall be applied toward any settlement or judgment that person receives
     under Part A or Part C.
OTHER INSURANCE
If there is other applicable auto medical payments insurance available any insurance we provide shall be
excess over any other applicable auto medical payments insurance. If more than one policy applies on
an excess basis, we will bear our proportionate share with other collectible auto medical payments
insurance.
PART C - UNINSURED MOTORISTS COVERAGE
INSURING AGREEMENT
A. We will pay compensatory damages which an "insured" is legally entitled to recover from the owner
   or operator of an "uninsured motor vehicle" because of "bodily injury:"
   1. Sustained by an "insured;" and
   2. Caused by an accident.
   The owner's or operator's liability for these damages must arise out of the ownership, maintenance
   or use of the "uninsured motor vehicle."
   Any judgment for damages arising out of a suit brought without our written consent is not binding
   on us.
B. "Insured" as used in this Part means:
   1. You or any "family member."
   2. Any other person "occupying" "your covered auto."
   3. Any person for damages that person is entitled to recover because of "bodily injury" to which
       this coverage applies sustained by a person described in 1. or 2. above.
C. "Uninsured motor vehicle" means a land motor vehicle or trailer of any type:
   1. To which no bodily injury liability bond or policy applies at the time of the accident.
   2. To which a bodily injury liability bond or policy applies at the time of the accident. In this case
       its limit for bodily injury liability must be less than the minimum limit for bodily injury liability
       specified by the financial responsibility law of the state in which "your covered auto" is
       principally garaged.
   3. Which is a hit-and-run vehicle whose operator or owner cannot be identified and which hits:
       a. you or any "family member;"
       b. a vehicle which you or any "family member" are "occupying;" or
       c. "your covered auto."
   4. To which a bodily injury liability bond or policy applies at the time of the accident but the
       bonding or insuring company;
       a. denies coverage; or
       b. is or becomes insolvent.
   However, "uninsured motor vehicle" does not include any vehicle or equipment:
   1. Owned by or furnished or available for the regular use of you or any "family member."
   2. Owned or operated by a self-insurer under any applicable motor vehicle law, except a
       self-insurer which is or becomes insolvent.
   3. Owned by any governmental unit or agency.
   4. Operated on rails or crawler treads.
   5. Designed mainly for use off public roads while not on public roads.

                                                                                                        Page 7 of 17
    6. While located for use as a residence or premises.

EXCLUSIONS
A. We do not provide Uninsured Motorists Coverage for "bodily injury" sustained by any person:
   1. While "occupying," or when struck by, any motor vehicle owned by you or any "family
       member" which is not insured for this coverage under this policy. This includes a trailer of any
       type used with that vehicle.
   2. If that person or the legal representative settles the "bodily injury" claim without our consent.
   3. While "occupying" "your covered auto" when it is being used as a public or livery conveyance.
       This exclusion (A.3.) does not apply to a share-the-expense car pool.
   4. Using a vehicle without a reasonable belief that that person is entitled to do so.
B. This coverage shall not apply directly or indirectly to benefit any insurer or self-insurer under any of
   the following or similar law:
   1. Workers' compensation law; or
   2. Disability benefits law.
C. We do not provide Uninsured Motorists Coverage for punitive or exemplary damages.

LIMIT OF LIABILITY
A. The limit of liability shown in the Declarations for this coverage is our maximum limit of liability for
   all damages resulting from any one accident. This is the most we will pay regardless of the number
   of:
   1. "Insureds;"
   2. Claims made;
   3. Vehicles or premiums shown in the Declarations; or
   4. Vehicles involved in the accident.
B. Any amounts otherwise payable for damages under this coverage shall be reduced by all sums:
   1. Paid because of the "bodily injury" by or on behalf of persons or organizations who may be
        legally responsible. This includes all sums paid under Part A; and
   2. Paid or payable because of the "bodily injury" under any of the following or similar law:
        a. workers' compensation law; or
        b. disability benefits law.
C. Any payment under this coverage will reduce any amount that person is entitled to recover for the
   same damages under Part A.

OTHER INSURANCE
If there is other applicable similar insurance we will pay only our share of the loss. Our share is the
proportion that our limit of liability bears to the total of all applicable limits. However, any insurance we
provide with respect to a vehicle you do not own shall be excess over any other collectible insurance.

ARBITRATION
A. If we and an "insured" do not agree:
   1. Whether that person is legally entitled to recover damages under this Part; or
   2. As to the amount of damages;
   either party may make a written demand for arbitration. In this event, each party will select an
   arbitrator. The two arbitrators will select a third. If they cannot agree within 30 days, either may
   request that selection be made by a judge of a court having jurisdiction.
B. Each party will:
   1. Pay the expenses it incurs; and

                                                                                                         Page 8 of 17
   2. Bear the expenses of the third arbitrator equally.
C. Unless both parties agree otherwise, arbitration will take place in the county in which the "insured"
   lives. Local rules of law as to procedure and evidence will apply. A decision agreed to by two of the
   arbitrators will be binding as to:
   1. Whether the "insured" is legally entitled to recover damages; and
   2. The amount of damages. This applies only if the amount does not exceed the minimum limit for
      bodily injury liability specified by the financial responsibility law of the state in which "your
      covered auto" is principally garaged. If the amount exceeds that limit, either party may demand
      the right to a trial. This demand must be made within 60 days of the arbitrators' decision. If this
      demand is not made, the amount of damages agreed to by the arbitrators will be binding.

PART D - COVERAGE FOR DAMAGE TO YOUR AUTO

INSURING AGREEMENT
A. We will pay for direct and accidental loss to "your covered auto" or any "non-owned auto,"
   including their equipment, subject to Customized Equipment Coverage, minus any applicable
   deductible shown in the Declarations. If loss to more than one of “your covered auto” or
   “non-owned auto” results from the same collision, only the highest applicable deductible will apply.
   We will pay for loss to "your covered auto" caused by:
   1. Other than "collision" only if the Declarations indicate that Other Than Collision Coverage is
      provided for that auto.
   2. "Collision" only if the Declarations indicate that Collision Coverage is provided for that auto.
   If there is a loss to a "non-owned auto," we will provide the broadest coverage applicable to any
   "your covered auto" shown in the Declarations.
B. "Collision" means the upset of "your covered auto" or a "non-owned auto" or their impact with
   another vehicle or object.
   Loss caused by the following is considered other than "collision:"
   1. Missiles or falling objects;
   2. Fire;
   3. Theft or larceny;
   4. Explosion or earthquake;
   5. Windstorm;
   6. Hail, water or flood
   7. Malicious mischief
   8. Riot or Civil Commotion;
   9. Contact with bird or animal; or
   10. Breakage of glass
   If breakage of glass is caused by a "collision," you may elect to have it considered a loss caused by
   "collision."
C. "Non-owned auto" means:
   1. Any private passenger auto, pickup, van or "trailer" not owned by or furnished or available for
      the regular use of you or any "family member" while in the custody of or being operated by you
      or any "family member;" or
   2. Any auto or "trailer" you do not own while used as a temporary substitute for "your covered
      auto" which is out of normal use because of its:
       a. breakdown;                 d. loss; or
       b. repair;                    e. destruction.
       c. servicing;

                                                                                                         Page 9 of 17
CUSTOMIZED EQUIPMENT COVERAGE
A. We will pay up to $500 for theft or damage to “customized equipment” if the loss is caused by:
    1. Other than “collision” only if the Declarations indicate that Other Than Collision Coverage is
         provided for that auto.
    2. “Collision” only if the Declarations indicate that Collision Coverage is provided for that auto.
         Payments shall be reduced by the applicable deductible. However, only one deductible will be
         applied for any one loss. If you or the owner of a “non-owned auto” keeps salvaged material,
         payments will also be reduced by the salvage value. In no way shall this coverage increase the
         limit of liability for “your covered auto” or any “non-owned auto”.
B. “Customized equipment” means any parts, equipment and accessories including devices,
    extensions, furnishings, fixtures, finishings, and other alterations that:
    1. are permanently installed or attached by bolts or brackets;
    2. are removable from a housing unit that is permanently installed inside the auto;
    3. are permanently bonded to the vehicle by an adhesive or welding procedure; or
    4. change the appearance or performance of the vehicle
    including but not limited to any additions or alterations to the chassis, engine, exterior or interior of
    the auto.
    This includes but is not limited to ground effects, specialty rims, performance tires, specialty paint
    or dye, roll bars, running boards, spoilers, special interior or exterior lighting, roof/trunk racks, and
    high performance engine components. However, such parts, equipment and accessories that were
    installed by the automobile manufacturer or licensed auto dealer are not considered “customized
    equipment”.
    This also includes any electronic equipment that is not necessary for the normal operation of the
    auto or the monitoring of the auto's operating system that is used solely for the reproduction of
    recorded material or used for transmitting or receiving audio, visual or data signals. However, such
    parts, equipment and accessories that were installed by the automobile manufacturer or licensed
    auto dealer or in a location the automobile manufacturer intended for such equipment, are not
    considered “customized equipment”.
C. If you have purchased additional coverage for “customized equipment” we will pay up to the
    amount of coverage you have purchased in addition to the $500 limit provided by the policy. This
    additional coverage must be shown in the Declarations.
D. The most we will pay for parts, equipment and accessories that are:
    1. not installed by the auto manufacturer or dealer; and
    2. permanently installed in or upon the auto
    is the actual cash value of the vehicle not including such parts, equipment and accessories.
    However under no circumstances will we pay more than the limits identified in the declaration.
TRANSPORTATION EXPENSES
We will pay up to $30 per day to a maximum of 30 days for any temporary transportation expenses
incurred by you. This applies only in the event of the theft of “your covered auto” or “non-owned
auto”. We will pay only transportation expenses incurred during the period:
    1. Beginning 48 hours after the theft; and
    2. Ending when “your covered auto” is returned to use or we pay for its loss.
EXCLUSIONS
We will not pay for:
    1. Loss to "your covered auto" or any "non-owned auto" which occurs while it is being used as a
         public or livery conveyance. This includes but is not limited to any period of time while it is
         being used by any person who is logged into a “transportation network platform” as a driver,
         whether or not a passenger is “occupying” the vehicle. This exclusion (1.) does not apply to a
         share-the-expense car pool.
    2. Damage due and confined to:
         a. wear and tear;

                                                                                                         Page 10 of 17
    b. freezing;
    c. mechanical or electrical breakdown or failure; or
    d. road damage to tires.
    This exclusion (2.) does not apply if the damage results from the total theft of "your covered
    auto" or any "non-owned auto."
3. Loss due to or as a consequence of:
    a. radioactive contamination;
    b. discharge of any nuclear weapon (even if accidental);
    c. war (declared or undeclared);
    d. civil war;
    e. insurrection; or
    f. rebellion or revolution.
4. We will not pay for loss to equipment that is not permanently installed in or upon “your covered
    auto” or any “non-owned auto”. This consists of any equipment that either is designed for the
    reproduction of sound or receives or transmits audio, visual or data signals. This includes but is
    not limited to:
             radios and stereos; tape decks; compact disc players and burners; digital video disc
             (DVD) players and burners; citizens band radios; scanning monitor receivers; television
             monitor receivers; global positioning system (GPS) receivers and/or components; video
             cassette players and recorders; audio cassette recorders; or personal computers, which
             includes laptops, desktops, and personal digital assistants (PDA) or any other handheld
             device.
    All accessories used with the above or similar equipment are also excluded.
5. Loss to "your covered auto" or any "non-owned auto" due to destruction or confiscation by
    governmental or civil authorities because you or any "family member:"
    a. engaged in illegal activities; or
    b. failed to comply with Environmental Protection Agency or Department of Transportation
        standards.
    This exclusion (5.) does not apply to the interests of Loss Payees in "your covered auto."
6. Loss to a camper body or "trailer" you own which is not shown in the Declarations. This
    exclusion (6.) does not apply to a camper body or "trailer" you:
    a. acquire during the policy period; and
    b. ask us to insure within 30 days after you become the owner.
7. Loss to any "non-owned auto" when used by you or any "family member" without a reasonable
    belief that you or that "family member" are entitled to do so.
8. Loss to:
    a. awnings or cabanas; or
    b. equipment designed to create additional living facilities.
9. Loss to equipment designed or used for the detection or location of radar.
10. Loss to any custom furnishings or equipment in or upon any pickup or van. Custom furnishings
    or equipment include but are not limited to:
    a. special carpeting and insulation, furniture or bars;
    b. facilities for cooking and sleeping;
    c. height-extending roofs; or
    d. custom murals, paintings or other decals or graphics.
11. Loss to any "non-owned auto" being maintained or used by any person while employed or
    otherwise engaged in the "business" of:

                                                                                                  Page 11 of 17
            a. selling;              d. storing; or
            b. repairing;            e. parking;
            c. servicing;
        vehicles designed for use on public highways. This includes road testing and delivery.
    12. Loss to any "non-owned auto" being maintained or used by any person while employed or
        otherwise engaged in any "business" not described in exclusion 11. This exclusion (12.) does
        not apply to the maintenance or use by you or any "family member" of a "non-owned auto"
        which is a private passenger auto or "trailer."
    13. We will not pay for loss to “customized equipment” in excess of what is provided under
        Customized Equipment Coverage unless additional coverage has been purchased by
        endorsement and is shown in the Declarations.
    14. We will not pay for loss to tapes, records, discs or other media used with any sound
        reproducing or other electronic equipment.
    15. Loss to “your covered auto” or any “non-owned auto” while the car is being used for:
        a. competing in; or
        b. practicing or preparing for
        any organized racing, speed, demolition, stunt or performance contest or related activity
        whether or not for pay.
    16. Loss to “your covered auto” or “non-owned auto” while being used in a “personal vehicle
        sharing program.”


LIMIT OF LIABILITY
A. At our option, our limit of liability for loss will be the lowest of:
    1. The actual cash value of the stolen or damaged property;
    2. a. The amount necessary to repair or replace the property;
        b. Determination of the cost of repair or replacement will be based upon one of the following:
            (1) the cost of repair or replacement agreed upon by you and us;
            (2) a competitive bid approved by us; or
            (3) an estimate written based upon the prevailing competitive price. You agree with us that
                we may include in the estimate parts furnished by the original vehicle manufacturer or
                parts from other sources including non-original equipment manufacturers. The prevailing
                competitive price means prices charged by a majority of the repair market in the area
                where the vehicle is to be repaired as determined by us; or
    3. The limit of liability shown in the Declarations.
    However, the most we will pay for loss to any "non-owned auto" which is a "trailer" is $500.
B. An adjustment for depreciation and physical condition will be made in determining actual cash value
   at the time of loss. In this case, the actual cash value consists of the value of the vehicle not
   including any “customized equipment.”


PAYMENT OF LOSS
We may pay for loss in money or repair or replace the damaged or stolen property. We may, at our
expense, return any stolen property to:
    1. You; or
    2. The address shown in this policy.
If we return stolen property we will pay for any damage resulting from the theft. We may keep all or
part of the property at an agreed or appraised value.

                                                                                                    Page 12 of 17
NO BENEFIT TO BAILEE
This insurance shall not directly or indirectly benefit any carrier or other bailee for hire.

OTHER SOURCES OF RECOVERY
If other sources of recovery also cover the loss, we will pay only our share of the loss. Our share is the
proportion that our limit of liability bears to the total of all applicable limits. However, any insurance we
provide with respect to a "non-owned auto" shall be excess over any other collectible source of
recovery except for a motor vehicle provided by a motor vehicle dealer when an “insured” has custody
of or is operating that motor vehicle, while the “insured’s” motor vehicle is being transported, serviced,
repaired or inspected by a motor vehicle dealer. This exception only applies to the loan of a motor
vehicle by a motor vehicle dealer that occurs without financial remuneration in the form of a fee, rental
or lease charge paid directly by the “insured” operating the motor vehicle.
Other Sources of Recovery include but are not limited to:
     1. Any coverage provided by the owner of the "non-owned auto;"
     2. Any other applicable physical damage insurance;
     3. Any other source of recovery applicable to the loss.

APPRAISAL
A. If we and you do not agree on the amount of loss, either may demand an appraisal of the loss. In
   this event, each party will select a competent appraiser. The two appraisers will select an umpire.
   The appraisers will state separately the actual cash value and the amount of loss. If they fail to
   agree, they will submit their differences to the umpire. A decision agreed to by any two will be
   binding. Each party will:
   1. Pay its chosen appraiser; and
   2. Bear the expenses of the appraisal and umpire equally.
B. We do not waive any of our rights under this policy by agreeing to an appraisal.

PART E - DUTIES AFTER AN ACCIDENT OR LOSS

If an accident or loss occurs, the following must be done for the terms of the policy to apply:
A. We must be notified promptly of how, when and where the accident or loss happened. Notice
     should also include the names and addresses of any injured persons and of any witnesses.
B. A person seeking any coverage must:
     1. Cooperate with us in the investigation, settlement or defense of any claim or suit. This includes,
        but is not limited to, allowing us to inspect damage to a vehicle covered by this policy.
     2. Promptly send us copies of any notices or legal papers received in connection with the accident
        or loss.
     3. Submit, as often as we reasonably require, within 30 days of our request:
        a. to examinations by physicians we select under terms we require. We will pay for these
             exams.
        b. to interviews and recorded statements without the need for us to conduct an examination
             under oath.
        c. to examination under oath and subscribe the same.
     4. Authorize us to obtain, within 30 days of our request:
        a. medical reports; and
        b. other pertinent records, including but not limited to, information contained in or transmitted
             by any device located in or on the motor vehicle.
     5. Submit a proof of loss when required by us within 30 days of our request.
C. A person seeking Uninsured Motorists Coverage must also:
     1. Promptly notify the police if a hit-and-run driver is involved.

                                                                                                         Page 13 of 17
   2. Promptly send us copies of the legal papers if a suit is brought.
D. A person seeking Coverage for Damage to Your Auto must also:
   1. Take reasonable steps after loss to protect "your covered auto" or any "non-owned auto" and
      their equipment from further loss. We will pay reasonable expenses incurred to do this.
   2. Promptly notify the police if "your covered auto" or any "non-owned auto" is stolen.
   3. Permit us to inspect and appraise the damaged property before its repair or disposal.

PART F - GENERAL PROVISIONS

BANKRUPTCY
Bankruptcy or insolvency of the "insured" shall not relieve us of any obligations under this policy.
CHANGES
A. This policy, your Declarations page and endorsements issued by us to this policy contain all the
   agreements between you and us. Its terms may not be changed or waived except by endorsement
   issued by us.
B. The premium for your policy is based on information we have received from you or other sources.
   You agree to cooperate with us in determining if this information is correct and complete and you
   will notify us if it changes. If this information is incorrect, incomplete, or changes, we will adjust
   your premium during the policy term or take other appropriate action based upon the corrected,
   completed or changed information. Changes during the policy term that will result in a premium
   increase or decrease during the policy term include, but are not limited to, changes in:
   1. The number, type or use classification of insured vehicles;
   2. Operators using insured vehicles, including newly licensed “family member” drivers and any
      household members that have licenses;
   3. The location where your vehicle is principally garaged;
   4. Customized equipment or parts.
   5. The persons who regularly operate a covered auto.
   You also agree to disclose all licensed drivers residing in your household.
If a change resulting from A. or B. requires a premium adjustment, we will make the premium
adjustment in accordance with our manual rules.
C. If we make a change which broadens coverage under this edition of your policy without additional
   premium charge, that change will automatically apply to your policy as of the date we implement
   the change in your state. This paragraph (C.) does not apply to changes implemented with a general
   program revision that includes both broadenings and restrictions in coverage, whether that general
   program revision is implemented through introduction of:
   1. A subsequent edition of your policy; or
   2. An Amendatory Endorsement.


FRAUD
This policy was issued in reliance upon the information provided on your application. Any changes we
make at your request to this policy after inception will be made in reliance upon information you
provide. We may void this policy if you or an “insured” have concealed or misrepresented any material
fact or circumstance, or engaged in fraudulent conduct, at the time application was made, at the time
changes were requested, or any time during the policy period.
We may void this policy or deny coverage for an accident or loss if you or an “insured” have concealed
or misrepresented any material fact or circumstance, or engaged in fraudulent conduct, in connection
with the presentation or settlement of a claim.

                                                                                                       Page 14 of 17
We may void this policy or deny coverage for fraud or material misrepresentation even after the
occurrence of an accident or loss. This means we will not be liable for any claims or damages which
would otherwise be covered. If we make a payment, we may request that you reimburse us. If so
requested, you must reimburse us for any payments we may have already made.
LEGAL ACTION AGAINST US
A. No legal action may be brought against us until there has been full compliance with all the terms of
   this policy. In addition, under Part A, no legal action may be brought against us until:
    1. We agree in writing that the "insured" has an obligation to pay; or
    2. The amount of that obligation has been finally determined by judgment after trial.
B. No person or organization has any right under this policy to bring us into any action to determine
   the liability of an "insured."
OUR RIGHT TO RECOVER PAYMENT
A. If we make a payment under this policy and the person to or for whom payment was made has a
   right to recover damages from another we shall be subrogated to that right. That person shall do:
    1. Whatever is necessary to enable us to exercise our rights; and
    2. Nothing after loss to prejudice them.
    However, our rights in this paragraph (A.) do not apply under Part D, against any person using
    "your covered auto" with a reasonable belief that that person is entitled to do so.
B. If we make a payment under this policy and the person to or for whom payment is made recovers
   damages from another, that person shall:
    1. Hold in trust for us the proceeds of the recovery; and
    2. Reimburse us to the extent of our payment less reasonable attorney’s fees, costs and expenses
       incurred by that person in our collecting our share of the recovery.
POLICY PERIOD AND TERRITORY
A. This policy applies only to accidents and losses which occur:
    1. During the policy period as shown in the Declarations; and
    2. Within the policy territory.
B. The policy territory is:
    1. The United States of America, its territories or possessions;
    2. Puerto Rico; or
    3. Canada.
    This policy also applies to loss to, or accidents involving, "your covered auto" while being
    transported between their ports.
TERMINATION
A. Cancellation. This policy may be cancelled during the policy period as follows:
    1. The named insured shown in the Declarations may cancel by:
        a. returning this policy to us; or
        b. giving us advance written notice of the date cancellation is to take effect.
    2. We may cancel by mailing to the named insured shown in the Declarations at the address
       shown in this policy:
        a. at least 15 days notice of cancellation:
            (1) if notice is effective within the first 60 days this policy is in effect and this is not a
                renewal or continuation policy;


                                                                                                      Page 15 of 17
             (2) for nonpayment of premium;
             (3) If the driver's license of the named insured shown in the Declarations has been
                 suspended or revoked after the effective date if this policy has been in effect less than
                 one year; or if the policy has been in effect longer than one year, since the last
                 anniversary of the original effective date; or
         b. at least 60 days notice if the policy was obtained through material misrepresentation.
         Our right to cancel this policy is subject to the limitations contained in the applicable
         Pennsylvania Statutes.
B. Nonrenewal. If we decide not to renew or continue this policy, we will mail notice to the named
    insured shown in the Declarations at the address shown in this policy:
    1. At least 15 days notice before the end of the policy period:
         a. For nonpayment of premium; or
         b. If the driver's license of the named insured shown in the Declarations has been suspended
             or revoked after the effective date if this policy has been in effect less than one year; or if
             the policy has been in effect longer than one year, since the last anniversary of the original
             effective date.
    2. At least 60 days notice before the end of the policy period in all other cases.
    However, our right to non-renew the policy is subject to the limitations contained in the applicable
    Pennsylvania Statutes.
C. Automatic Termination. If we offer to renew or continue and you or your representative do not
    accept, this policy will automatically terminate at the end of the current policy period. Failure to pay
    the required renewal or continuation premium when due shall mean that you have not accepted our
    offer.
D. Other Termination Provisions.
    1. We may deliver any notice instead of mailing it. Proof of mailing of any notice shall be sufficient
         proof of notice.
    2. If this policy is cancelled, you may be entitled to a premium refund. If so, we will send you the
         refund. The premium refund, if any, will be computed according to our manuals. However,
         making or offering to make the refund is not a condition of cancellation.
    3. The effective date of cancellation stated in the notice shall become the end of the policy period.
TRANSFER OF YOUR INTEREST IN THIS POLICY
A. Your rights and duties under this policy may not be assigned without our written consent. However,
    if a named insured shown in the Declarations becomes deceased, coverage will be provided for:
    1. The surviving spouse or partner in a civil union, registered domestic partnership or other similar
         union, if a resident of the same household at the time of death. Coverage applies to the spouse
         or partner as set forth herein, as if a named insured shown in the Declarations; and
    2. The legal representative of the deceased person as if a named insured shown in the
         Declarations. This applies only with regard to the representative's legal responsibility to maintain
         or use "your covered auto."
    Section 1. only applies if the civil union, registered domestic partnership or other similar union is
    validly entered into under the laws of any state, municipality, or territory of the United States or any
    other country.
B. Coverage will only be provided until the end of the policy period.
CONSTITUTIONALITY CLAUSE
The premium for, and the coverages of, this policy have been established in reliance upon the provisions
of the Pennsylvania Motor Vehicle Financial Responsibility Law. In the event a court, from which there
is no appeal, declares or enters a judgment the affect of which is to render the provisions of such
statute invalid or unenforceable in whole or part, we will have the right to recomputed the premium
payable for the policy and void or amend the provisions of the policy, subject to the approval of the
Insurance Commissioner.


                                                                                                         Page 16 of 17
DUTY TO REPORT CHANGES
You must promptly report to us all changes, including additions and deletions, in policy information.
Further, you must report to us certain changes no later than 30 days after the change occurs. These are
changes to:
    1. your residence address;
    2. operators using insured vehicles, including newly licensed “family member” drivers and any
        household members that have licenses;
    3. the location where your vehicle is principally garaged;
    4. the persons who regularly operate a covered auto;
    5. the driver’s license or operator’s permit status of you, a relative, or a resident of your
        household.


TWO OR MORE AUTO POLICIES
If this policy and any other auto insurance policy issued to you by us apply to the same accident, the
maximum limit of our liability under all the policies shall not exceed the highest applicable limit of
liability under any one policy.


*MUTUAL POLICY CONDITIONS
You are a member of the Liberty Mutual Fire Insurance Company while this policy is in force.
Membership entitles you to vote in person or by proxy at meetings of the company. The Annual
Meeting is in Boston, Massachusetts, on the second Wednesday in April each year at 11 o'clock in the
morning.
Also, as a member, you will receive any dividends declared on this policy by the Directors.
This policy is classified in Dividend Class IV-Automobile.
This policy has been signed by our President and Secretary at Boston, Massachusetts, and
countersigned on the Declarations Page by an authorized representative.



*These conditions apply only if Liberty Mutual Fire Insurance Company is shown in the Declarations as
the insurer.




        PRESIDENT                                                       SECRETARY



                    Includes Copyrighted material of Insurance Services Office, Inc.,
                                           with its permission
                            Copyright, Insurance Services Office, Inc., 1988




                                                                                                   Page 17 of 17
THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

UNINSURED MOTORISTS COVERAGE - PENNSYLVANIA (NON-STACKED)                                  AS 3688 06 16

Part C - Uninsured Motorists Coverage is replaced in its entirety by the following:

                                                 SCHEDULE
                                 UNINSURED MOTORISTS COVERAGE
Description                          Limit
of                                   of
Vehicle                              Liability                             Premium
                                     $                                     $
                                     $                                     $
                                     $                                     $

   INSURING AGREEMENT                                          C. "Uninsured motor vehicle" means a land
   A. We will pay compensatory damages                            motor vehicle or trailer of any type:
      which an "insured" is legally entitled to                   1. To which no bodily injury liability
      recover from the owner or operator of                           bond or policy applies at the time of
      an "uninsured motor vehicle" because                            the accident
      of "bodily injury":                                         2. Which is a hit-and-run vehicle
      1. Sustained by an "insured"; and                               whose operator or owner cannot be
      2. Caused by an accident.                                       identified and which hits or which
      The owner's or operator's liability for                         causes an accident resulting in
      these damages must arise out of the                             "bodily injury" without hitting:
      ownership, maintenance or use of the                            a. You or any "family member";
      "uninsured motor vehicle".                                      b. A vehicle which you or any
      No judgment for damages arising out of                               "family       member"         are
      a suit brought against the owner or                                  "occupying"; or
      operator of an "uninsured motor                                 c. "Your covered auto".
      vehicle" is binding on us unless we:                            If there is no contact with the
      1. Received reasonable notice of the                            hit-and-run vehicle, the facts of the
          pendency of the suit resulting in the                       accident must be proved.
          judgment; and                                           3. To which a bodily injury liability
      2. Had a reasonable opportunity to                              bond or policy applies at the time of
          protect our interests in the suit.                          the accident but the bonding or
   B. "Insured" as used in this endorsement                           insuring company:
      means:                                                          a. Denies coverage; or
      1. You or any "family member".                                  b. Is or becomes:
      2. Any other person "occupying":                                     (1) Insolvent; or
          a. “Your covered auto” with your                                 (2) Involved      in   insolvency
              express or implied permission.                                   proceedings.
              The actual occupation must be                       However, "uninsured motor vehicle"
              within the scope of that                            does not include any vehicle or
              permission; or                                      equipment:
          b. Any other auto operated by you.                      1. Owned by or furnished for the
      3. Any person for damages that person                           regular use of you or any "family
          is entitled to recover because of                           member".
          "bodily injury" to which this                           2. Owned or operated by a self-insurer
          coverage applies sustained by a                             under any applicable motor vehicle
          person described in 1. or 2. above.                         law, except a self-insurer which is
      However, for the purposes of this                               or becomes insolvent.
      coverage, “insured” does not mean any                       3. Operated on rails or crawler treads.
      person who is occupying or using “your                      4. Designed mainly for use off public
      covered auto” under a “personal vehicle                         roads while not on public roads.
      sharing program.”                                           5. While located for use as a residence
                                                                      or premises.
                                                 Page 1 of 3
                                                                                       AS 3688 06 16

EXCLUSIONS                                                   "occupying" a motor vehicle insured
A. We do not provide Uninsured Motorists                     under a commercial motor vehicle
   Coverage for "bodily injury" sustained:                   insurance policy.
   1. By an “insured”, as defined in this               D. This coverage shall not apply directly or
        endorsement,        while       using,               indirectly to benefit any insurer or
        "occupying", or when struck by,                      self-insurer under any disability benefits
        any motor vehicle owned by you or                    or similar law, except a workers’
        a “family member”, which is not                      compensation law.
        insured for Uninsured Motorist                  E. We do not provide Uninsured Motorists
        Coverage under this policy. This                     Coverage for punitive or exemplary
        includes a trailer of any type used                  damages.
        with that vehicle.                              F. We do not provide Uninsured Motorists
   2. By an “insured”, as defined in this                    Coverage for any person for "bodily
        endorsement,        while       using,               injury" or "property damage" that
        "occupying", or when struck by,                      results, or may reasonably be expected
        any non-owned motor vehicle that is                  to result, from the intentional or criminal
        furnished or made available for your                 acts or omissions of an insured.
        regular use, or the regular use of a         LIMIT OF LIABILITY
        "family member", which is not                   A. The limit of liability shown in the
        insured for Uninsured Motorist                       Schedule or in the Declarations for
        Coverage under this policy. This                     Uninsured Motorists Coverage is our
        includes a trailer of any type used                  maximum limit of liability for all
        with that vehicle.                                   damages resulting from any one
B. We do not provide Uninsured Motorists                     accident. This is the most we will pay
   Coverage for "bodily injury" sustained                    regardless of the number of:
   by any person:                                            1. "Insureds";
   1. If that person or the legal                            2. Claims made;
        representative settles the bodily                    3. Vehicles or premiums shown in the
        injury claim without our consent.                         Schedule or in the Declarations; or
        However, this exclusion (B.1.) does                  4. Vehicles involved in the accident.
        not apply if such settlement does               B. No one will be entitled to receive
        not adversely affect our rights.                     duplicate payments for the same
   2. While “occupying” “your covered                        elements of loss under this coverage
        auto” when it is being used as a                     and:
        public or livery conveyance. This                    1. Part A or Part B of this policy; or
        includes but is not limited to any                   2. Any        Underinsured       Motorists
        period of time while it is being used                     Coverage provided by this policy.
        by any person who is logged into a              C. We will not make a duplicate payment
        “transportation network platform”                    under this coverage for any element of
        as a driver, whether or not a                        loss for which payment has been made
        passenger     is “occupying”       the               by or on behalf of persons or
        vehicle. This exclusion (B.2) does                   organizations who may be legally
        not apply to a share-the-expense car                 responsible. This includes all payments
        pool.                                                made to an "insured's" attorney either
   3. Using a vehicle without a reasonable                   directly or as part of the payment made
        belief that that person is entitled to               to the "insured".
        do so.                                          D. We will not pay for any element of loss
C. We do not provide Uninsured Motorists                     if a person is entitled to receive
   Coverage for "non-economic loss"                          payment for the same element of loss
   sustained by any person to whom the                       under any disability benefits or similar
   limited tort alternative applies, resulting               law, except a workers’ compensation
   from "bodily injury" caused by an                         law.
   accident involving an "uninsured motor            OTHER INSURANCE
   vehicle", unless the "bodily injury"                 If there is other applicable similar insurance
   sustained is a "serious injury".                     available under more than one policy or
   This exclusion (C.) does not apply if                provision of coverage:
   that     "insured"    is   injured    while
                                            Page 2 of 3
                                                                                                  AS 3688 06 16

   The following priorities of recovery apply:                        2. When there is no applicable
      First      The      Uninsured      Motorists                        insurance available under the First
                 Coverage applicable to the                               priority, the maximum recovery
                 vehicle the "insured" was                                under all policies in the Second
                 "occupying" at the time of the                           priority shall not exceed the
                 accident.                                                highest applicable limit for any one
      Second The policy affording Uninsured                               vehicle under any one policy.
                 Motorists Coverage to the                        If two or more policies have equal priority,
                 "insured" as a named insured                     the insurer against whom the claim is first
                 or family member.                                made shall process and pay the claim as if
      1. When there is applicable insurance                       wholly responsible for all insurers with
           available under the First priority:                    equal priority. The insurer is thereafter
           a. The limit of liability applicable to                entitled to recover contribution pro rata
               the vehicle the "insured" was                      from any other insurer for the benefits paid
               "occupying", under the policy                      and the costs of processing the claim.
               in the First priority, shall first be              LAWSUITS AGAINST US
               exhausted; and                                     You must comply with the terms of the
           b. The maximum recovery under all                      policy before you may sue us. Suit must be
               policies in the Second priority                    brought in a court of competent jurisdiction
               may equal but not exceed the                       in the county and state of your legal
               highest     applicable    limit of                 domicile at the time of the accident.
               liability for Uninsured Motorist
               Coverage for any one vehicle
               under any one policy providing
               coverage to you or any "family
               member".


This endorsement must be attached to the Change Endorsement when issued after the policy is written.




              Includes copyrighted material of Insurance Services Office, Inc., with its permission.
                                Copyright, Insurance Services Office, Inc., 1994

                                                   Page 3 of 3
THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

UNDERINSURED MOTORISTS COVERAGE - PENNSYLVANIA (NON-STACKED)                               AS 3690 06 16

With respect to the coverage provided by this endorsement, the provisions of the policy apply unless
modified by the endorsement.
                                            SCHEDULE
                               UNDERINSURED MOTORISTS COVERAGE
                Description              Limit
                of                       of
                Vehicle                  Liability                    Premium
                                         $                          $
                                         $                          $
                                         $                          $

INSURING AGREEMENT                                          1. You or any "family member".
A. We will pay compensatory damages which                   2. Any other person "occupying":
   an "insured" is legally entitled to recover                       a. “Your covered auto” with your
   from the owner or operator of an                                      express or implied permission.
   "underinsured motor vehicle" because of                               The actual occupation must be
   "bodily injury":                                                      within the scope of that
   1. Sustained by an "insured"; and                                     permission; or
   2. Caused by an accident.                                         b. Any other auto operated by you.
   The owner's or operator's liability for these            3. Any person for damages that person is
   damages must arise out of the ownership,                     entitled to recover because of "bodily
   maintenance or use of the "underinsured                      injury" to which this coverage applies
   motor vehicle".                                              sustained by a person described in 1. or
   We will pay under this coverage only if 1.                   2. above.
   or 2. below applies:                                         However, for the purposes of this
   1. The limits of liability under any                         coverage, “insured” does not mean any
       applicable bodily injury liability bonds or              person who is occupying or using “your
       policies have been exhausted by                          covered auto” under a “personal vehicle
       payment of judgments or settlements;                     sharing program.”
       or                                                C. "Underinsured motor vehicle" means a land
   2. A tentative settlement has been made                  motor vehicle or trailer of any type to which
       between an "insured" and the insurer of              a bodily injury liability bond or policy applies
       the "underinsured motor vehicle" and                 at the time of the accident but the amount
       we:                                                  paid for "bodily injury" under that bond or
       a. Have been given prompt written                    policy to an "insured" is not enough to pay
           notice of such tentative settlement;             the full amount the "insured" is legally
           and                                              entitled to recover as damages.
       b. Advance payment to the "insured"                  However, "underinsured motor vehicle"
           in an amount equal to the tentative              does not include any vehicle or equipment:
           settlement within 30 days after                  1. For which liability coverage is provided
           receipt of notification.                             under Part A of this policy.
   No judgment for damages arising out of a                 2. Operated on rails or crawler treads.
   suit brought against the owner or operator               3. Designed mainly for use off public roads
   of an "underinsured motor vehicle" is                        while not on public roads.
   binding on us unless we:                                 4. While located for use as a residence or
   1. Received reasonable notice of the                         premises.
       pendency of the suit resulting in the             EXCLUSIONS
       judgment; and                                     A. We do not provide Underinsured Motorists
   2. Had a reasonable opportunity to protect               Coverage for "bodily injury" sustained:
       our interests in the suit.                           1. By an “insured”, as defined in this
B. "Insured" as used in this endorsement                        endorsement, while using, "occupying",
   means:                                                       or when struck by, any motor vehicle
                                                Page 1 of 3
                                                                                           AS 3690 06 16

          owned by you or a “family member”,               LIMIT OF LIABILITY
          which is not insured for Underinsured            A. The limit of liability shown in the Schedule
          Motorists Coverage under this policy.                or in the Declarations for Underinsured
          This includes a trailer of any type used             Motorists Coverage is our maximum limit of
          with that vehicle.                                   liability for all damages resulting from any
     2. By an “insured”, as defined in this                    one accident. This is the most we will pay
          endorsement, while using, "occupying",               regardless of the number of:
          or when struck by, any non-owned                     1. "Insureds";
          motor vehicle that is furnished or made              2. Claims made;
          available for your regular use, or the               3. Vehicles or premiums shown in the
          regular use of a "family member", which                   Schedule or in the Declarations; or
          is not insured        for   Underinsured             4. Vehicles involved in the accident.
          Motorists Coverage under this policy.            B. The damages payable under this coverage
          This includes a trailer of any type used             shall be reduced by all sums paid because
          with that vehicle.                                   of the "bodily injury" by or on behalf of
B.   We do not provide Underinsured Motorists                  persons or organizations who may be legally
     Coverage for "bodily injury" sustained by                 responsible. This includes all sums paid for
     any person:                                               an "insured's" attorney either directly or as
     1. While “occupying” “your covered auto”                  part of the amount paid to the "insured". It
          when it is being used as a public or                 also includes all sums paid under Part A of
          livery conveyance. This includes but is              this policy.
          not limited to any period of time while it       C. No one will be entitled to receive duplicate
          is being used by any person who is                   payments for the same elements of loss
          logged into a “transportation network                under this coverage and Part A, Part B or
          platform” as a driver, whether or not a              Part C of this policy.
          passenger is “occupying” the vehicle.            D. We will not make a duplicate payment
          This exclusion (B.1.) does not apply to a            under this coverage for any element of loss
          share-the-expense car pool.                          for which payment has been made by or on
     2. Using a vehicle without a reasonable                   behalf of persons or organizations who may
          belief that that person is entitled to do            be legally responsible.
          so.                                              E. We will not pay for any element of loss if a
C.   We do not provide Underinsured Motorists                  person is entitled to receive payment for the
     Coverage for "noneconomic loss" sustained                 same element of loss under any disability
     by any person to whom the limited tort                    benefits or similar law, except a workers’
     alternative applies, resulting from "bodily               compensation law.
     injury" caused by an accident involving an            OTHER INSURANCE
     "underinsured motor vehicle", unless the              If there is other applicable similar insurance
     "bodily injury" sustained is a "serious               available under more than one policy or
     injury".                                              provision of coverage:
     This exclusion (C.) does not apply if that            The following priorities of recovery apply:
     "insured" is injured while "occupying" a
     motor vehicle insured under a commercial                   First    The     Underinsured      Motorists
     motor vehicle insurance policy.                                     Coverage applicable to the vehicle
D.   This coverage shall not apply directly or                           the "insured" was "occupying" at
     indirectly to benefit any insurer or                                the time of the accident.
     self-insurer under any disability benefits or              Second   The policy affording Underinsured
     similar      law,    except     a     workers’
                                                                         Motorists   Coverage    to    the
     compensation law.
                                                                         "insured" as a named insured or
E.   We do not provide Underinsured Motorists                            family member.
     Coverage for punitive or exemplary
     damages.                                              1. When there is applicable insurance available
F.   We do not provide Underinsured Motorists                 under the First priority:
     Coverage for any person for "bodily injury"              a. The limit of liability applicable to the
     or "property damage" that results, or may                   vehicle the "insured" was "occupying",
     reasonably be expected to result, from the                  under the policy in the First priority,
     intentional or criminal acts or omissions of                shall first be exhausted; and
     an insured.
                                                  Page 2 of 3
                                                                                                   AS 3690 06 16

    b. The maximum recovery under all                                 settlement between the "insured" and
        policies in the Second priority may equal                     the insurer of the "underinsured motor
        but not exceed the highest applicable                         vehicle" and allow us 30 days to
        limit of liability for Underinsured                           advance payment to that "insured" in an
        Motorists Coverage for any one vehicle                        amount equal to the tentative settlement
        under any one policy providing coverage                       to preserve our rights against the
        to you or any "family member".                                insurer, owner or operator of such
2. When there is no applicable insurance                              "underinsured motor vehicle".
    available under the First priority, the                   PART F - GENERAL PROVISIONS
    maximum recovery under all policies in the                The following is added to the Our Right To
    Second priority shall not exceed the highest              Recover Payment provision of Part F:
    applicable limit for any one vehicle under                OUR RIGHT TO RECOVER PAYMENT
    any one policy.                                           Our rights do not apply under paragraph A. with
If two or more policies have equal priority, the              respect to Underinsured Motorists Coverage if
insurer against whom the claim is first made                  we:
shall process and pay the claim as if wholly                  1. Have been given prompt written notice of a
responsible for all insurers with equal priority.                 tentative settlement between an "insured"
The insurer is thereafter entitled to recover                     and the insurer of an "underinsured motor
contribution pro rata from any other insurer for                  vehicle"; and
the benefits paid and the costs of processing                 2. Fail to advance payment to the "insured" in
the claim.                                                        an amount equal to the tentative settlement
LAWSUITS AGAINST US                                               within 30 days after receipt of notification.
You must comply with the terms of the policy                  If we advance payment to the "insured" in an
before you may sue us. Suit must be brought                   amount equal to the tentative settlement within
in a court of competent jurisdiction in the                   30 days after receipt of notification:
county and state of your legal domicile at the                1. That payment will be separate from any
time of the accident.                                             amount the "insured" is entitled to recover
ADDITIONAL DUTIES                                                 under the provisions of Underinsured
A person seeking Underinsured Motorists                           Motorists Coverage; and
Coverage must also promptly:                                  2. We also have a right to recover the
    1. Send us copies of the legal papers if a                    advanced payment.
        suit is brought; and
    2. Notify us in writing of a tentative




This endorsement must be attached to the Change Endorsement when issued after the policy is written.




               Includes copyrighted material of Insurance Services Office, Inc., with its permission.
                                Copyright, Insurance Services Office, Inc., 1994

                                                   Page 3 of 3
         POLICY NUMBER:




                                                                                                      PERSONAL AUTO
         FIRST PARTY BENEFITS COVERAGE - PENNSYLVANIA                                                  PP 05 51 11 92

         With respect to coverage provided by this endorsement, the provisions of the policy apply unless
         modified by the endorsement.
                                                          SCHEDULE
          BASIC FIRST PARTY BENEFIT
          Benefit                                                         Limit Of Liability
          Medical Expenses                                                $5,000
          If indicated below or in the Declarations, the following options apply instead of the Basic First
          Party Benefit:
            Added First Party Benefits
          Benefits                                                                Limit Of Liability
          Medical Expenses                                                        $
          Work Loss                                                               $         subject to a maximum
                                                                                            of $         per month
          Funeral Expenses                                                        $
          Accidental Death                                                        $
            Combination First Party Benefits
          Benefits                                                             Limit Of Liability
          Medical Expenses                                                     No specific dollar amount
          Work Loss                                                            No specific dollar amount
          Funeral Expenses                                                     $2,500
          Accidental Death                                                     $
          Maximum Limit of Liability for the                                   $
          Total of All Combination First
          Party Benefits
          Note: If Added First Party Benefits or Combination First Party Benefits are not shown as applicable in
                the Schedule or Declarations, only the Basic First Party Benefit applies.


          I. DEFINITIONS                                                C. The following definition is added:
             The Definitions section is amended as                         "Motor vehicle" means a self-propelled
             follows:                                                      vehicle operated or designed for use upon
             A. "The Act" refers to the Pennsylvania                       public roads. However, "motor vehicle"
                 Motor Vehicle Financial Responsibility                    does not include a vehicle operated:
                 Law.
                                                                           1. By muscular power; or
             B. The following definitions are replaced:
                                                                            2. On rails or tracks.
                 1. "Bodily injury" means accidental
                    bodily harm to a person and that                    D. "Insured" as used in this endorsement
                    person's resulting illness, disease or                 means:
                    death.                                                  1. You or any "family member".
                 2. "Your covered auto" means a "motor                      2. Any other person while:
                    vehicle":
                                                                               a. "Occupying" "your covered auto";
                    a. To which Part A of this policy                             or
                       applies and for which a specific
                       premium is charged; and                                 b. Not "occupying" a "motor vehicle"
                    b. For which First Party Benefits                             if injured as a result of an accident
                       Coverage required by the Act is                            in Pennsylvania involving "your
                       maintained.                                                covered auto".




PP 05 51 11 92                           Copyright, Insurance Services Office, Inc., 1992                             Page 1 of 4
                     If "your covered auto" is parked and                      a. Loss of income. Up to 80% of
                     unoccupied it is not a "motor vehicle"                        gross income actually lost by an
                     involved in an accident unless it is                          "insured" as a result of the
                     parked in a manner which creates an                           accident.
                     unreasonable risk of injury.                              b. Reasonable        expenses    actually
          II. FIRST PARTY BENEFITS COVERAGE                                        incurred to reduce loss of income
                                                                                   by hiring:
              INSURING AGREEMENT
                                                                                  (1) Special help, thereby enabling
              A. BASIC FIRST PARTY BENEFIT                                             an "insured" to work; or
                 We will pay, in accordance with the Act,                         (2) A substitute to perform the
                 the Basic First Party Benefit to or for an                            work a self-employed "insured"
                 "insured" who sustains "bodily injury".                               would have performed.
                 The "bodily injury" must be caused by an                      However, work loss does not include:
                 accident arising out of the maintenance                       a. Loss of expected income or
                 or use of a "motor vehicle".                                      expenses incurred for services
                 Subject to the limit shown in the                                 performed after the death of an
                 Schedule or Declarations, the Basic First                         "insured"; or
                 Party Benefit consists of:                                    b. Any loss of income, or expenses
                 Medical expenses.        Reasonable     and                       incurred for services performed,
                 necessary medical expenses incurred for                           during the first 5 working days the
                 an "insured's":                                                   "insured" did not work due to
                                                                                   "bodily injury".
                 1. Care;
                                                                           3. Funeral expenses. Funeral or burial
                 2. Recovery; or                                               expenses actually incurred if "bodily
                 3. Rehabilitation.                                            injury" causes an "insured's" death
                 This includes remedial care and treatment                     within 24 months from the date of the
                 rendered in accordance with a recognized                      accident.
                 religious method of healing.                              4. Accidental death. A death benefit paid
                 Medical expenses will be paid if incurred                     if "bodily injury" causes the death of
                 within 18 months from the date of the                         you or any "family member" within 24
                 accident      causing    "bodily    injury".                  months from the date of the accident.
                 However, if within 18 months from the                         We will pay accidental death to the
                 date of the accident, it can be determined                    executor or administrator of the
                 with reasonable medical probability that                      deceased "insured's" estate. If there
                 additional expenses may be incurred after                     is no executor or administrator, the
                 this period, the 18 month time limit will                     benefit shall be paid to:
                 not apply to the payment of the                               a. The deceased "insured's" surviving
                 additional medical expenses.                                      spouse; or
              B. ADDED FIRST PARTY BENEFITS                                    b. If there is no surviving spouse, the
                 If the Schedule or Declarations indicates                         deceased "insured's" surviving
                 that Added First Party Benefits apply, we                         children; or
                 will pay Added First Party Benefits                           c. If there is no surviving spouse or
                 instead of the Basic First Party Benefit to                       children,     to    the    deceased
                 or for an "insured" who sustains "bodily                          "insured's" estate.
                 injury". The "bodily injury" must be
                 caused by an accident arising out of the               C. COMBINATION FIRST PARTY BENEFITS
                 maintenance or use of a "motor vehicle".                  If the Schedule or Declarations indicates
                 These benefits are subject to the                         that Combination First Party Benefits
                 provisions of the Act.                                    apply, we will pay Combination First
                 Subject to the limits shown in the                        Party Benefits instead of the Basic First
                 Schedule or Declarations, Added First                     Party Benefit to or for an "insured" who
                 Party Benefits consist of the following:                  sustains "bodily injury". The "bodily
                                                                           injury" must be caused by an accident
                 1. Medical expenses as described in the                   arising out of the maintenance or use of a
                     Basic First Party Benefit.                            "motor vehicle". These benefits are
                 2. Work loss.                                             subject to the provisions of the Act.

Page 2 of 4                              Copyright, Insurance Services Office, Inc., 1992                         PP 05 51 11 92
                 Subject to the limits shown in the                     B. We do not provide First Party Benefits
                 Schedule or Declarations, Combination                     Coverage for "bodily injury":
                 First Party Benefits consist of the                       1. Sustained by a pedestrian if the
                 following, as described in the Basic First                    accident       occurs     outside     of
                 Party Benefit and Added First Party                           Pennsylvania. This exclusion (B.1.)
                 Benefits:                                                     does not apply to:
                 1. Medical expenses.                                          a. You; or
                 2. Work loss.                                                 b. Any "family member".
                 3. Funeral expenses.                                      2. Caused by or as a consequence of:
                 4. Accidental death.                                          a. Discharge of a nuclear weapon
            EXCLUSIONS                                                             (even if accidental);
            A. We do not provide First Party Benefits                          b. War (declared or undeclared);
               Coverage for "bodily injury" sustained by                       c. Civil war;
               any person:                                                     d. Insurrection; or
                 1. While    intentionally  causing     or                     e. Rebellion or revolution.
                    attempting to cause "bodily injury" to
                    himself or any other person. We will                   3. From or as a consequence of the
                    not pay accidental death on behalf of                      following, whether controlled or
                    that person.                                               uncontrolled or however caused:
                                                                               a. Nuclear reaction;
                 2. While committing a felony.
                                                                               b. Radiation; or
                 3. While seeking to elude            lawful
                    apprehension or arrest by        a law                     c. Radioactive contamination.
                    enforcement official.                               LIMIT OF LIABILITY
                 4. While maintaining or using a "motor                 A. The limits of liability shown in the
                    vehicle" knowingly converted by that                   Schedule or Declarations for the first
                    person. This exclusion (A.4.) does not                 party benefits that apply are the most we
                    apply to:                                              will pay to or for each "insured" as the
                    a. You; or                                             result of any one accident, regardless of
                                                                           the number of:
                    b. Any "family member".
                                                                           1. Claims made;
                 5. Who, at the time of the accident, is:
                                                                           2. Vehicles or premiums shown in the
                    a. The owner of one or more                                Declarations;
                       registered "motor vehicles", none
                                                                           3. Vehicles involved in the accident; or
                       of which have in effect the
                       financial responsibility required by                4. Insurers providing first party benefits.
                       the Act; or                                      B. If Combination First Party Benefits are
                    b. "Occupying" a "motor vehicle"                       afforded, we will make available at least
                       owned by that person for which                      the minimum limit required by the Act for
                       the financial responsibility required               the Basic First Party Benefit. This
                       by the Act is not in effect.                        provision (B.) will not change our
                                                                           maximum limit of liability.
                 6. Maintaining or using a "motor vehicle"
                    while located for use as a residence or             C. Any amounts payable under this coverage
                    premises.                                              shall be excess over any amounts:
                 7. While "occupying" a:                                   1. Paid;
                    a. Recreational vehicle designed for                   2. Payable; or
                       use off public roads; or                            3. Required to be provided;
                    b. Motorcycle, moped or similar-type                   to an "insured" under any workers'
                       vehicle.                                            compensation law or similar law.




PP 05 51 11 92                           Copyright, Insurance Services Office, Inc., 1992                             Page 3 of 4
              PRIORITIES OF POLICIES                                     B. If 2 or more policies have equal priority
              A. We will pay first party benefits in                        within the highest applicable priority
                 accordance with the order of priorities set                level:
                 forth by the Act. We will not pay if there
                 is another insurer at a higher level of                     1. The insurer against whom the claim is
                 priority. The First category listed below is                   first made shall process and pay the
                 the highest level of priority and the                          claim as if wholly responsible. The
                 Fourth category is the lowest level of                         insurer is then entitled to recover
                 priority. The priority order is:                               contribution pro rata from any other
                                                                                insurer for the benefits paid and the
                  First      The insurer providing benefits                     costs of processing the claim. If such
                             to the "insured" as a named                        contribution is sought among insurers
                             insured.                                           under the Fourth priority, proration
                  Second     The insurer providing benefits                     shall be based on the number of
                             to the "insured" as a family                       involved motor vehicles.
                             member who is not a named
                             insured under another policy                    2. If we are the insurer against whom
                                                                                the claim is first made, our payment
                             providing      coverage      under
                                                                                to or for an "insured" will not exceed
                             the Act.                                           the applicable limit of liability for First
                  Third      The insurer of the "motor                          Party Benefits Coverage shown in the
                             vehicle" which the "insured" is                    Schedule or Declarations.
                             "occupying" at the time of the
                             accident.                                       3. The maximum recovery under all
                                                                                policies will not exceed the amount
                  Fourth     The insurer of any "motor                          payable under the policy with the
                             vehicle"     involved     in   the                 highest limit of liability.
                             accident if the "insured" is
                             not:                                         NON-DUPLICATION OF BENEFITS
                             a. "Occupying" a "motor
                                                                          No one will be entitled to recover duplicate
                                  vehicle"; and
                                                                          payments for the same elements of loss
                             b. Provided        first     party
                                                                          under this or any other similar insurance
                                  benefits under any other
                                                                          including self-insurance.
                                  automobile policy.
                             An       unoccupied         parked        III. PART F - GENERAL PROVISIONS
                             "motor vehicle" is not a
                                                                          Part F is amended as follows:
                             "motor vehicle" involved in
                             an accident unless it is                     The Our Right To Recover Payment provision
                             parked in a manner which                     does not apply.
                             creates      an      unreasonable
                             risk of injury.


          This endorsement must be attached to the Change Endorsement when issued after the policy is written.




Page 4 of 4                                Copyright, Insurance Services Office, Inc., 1992                          PP 05 51 11 92
LIMITED TORT ALTERNATIVE INFORMATION NOTICE -                                                     AS 2108 04 99
PENNSYLVANIA                                                                                    (PP 03 38 07 90)

Each person who elects the limited tort                              act or omission causing the injury is for
alternative     remains     eligible   to    seek                    the purpose of averting bodily harm to
compensation for economic loss sustained in a                        himself or another person; or
motor vehicle accident as the consequence of                    4. Has         not      maintained     financial
the fault of another person pursuant to                              responsibility as required by the
applicable tort law. Unless the injury sustained                     Pennsylvania Motor Vehicle Financial
is a serious injury, each person who is bound                        Responsibility     Law, provided      that
by the limited tort election shall be precluded                      nothing in Paragraphs 1. through 4.
from maintaining an action for noneconomic                           shall affect the limitation of a person,
loss, except that:                                                   precluded from maintaining an action for
A. An individual otherwise bound by the                              noneconomic damages under the limited
    limited tort election who sustains damages                       tort alternative, to recover noneconomic
    in a motor vehicle accident as the                               damages under Uninsured Motorists
    consequence of the fault of another person                       Coverage or Underinsured Motorists
    may recover damages as if the individual                         Coverage.
    damaged had elected the full tort alternative            B. An individual otherwise bound by the
    whenever the person at fault:                               limited tort election shall retain full tort
    1. Is convicted, or accepts Accelerated                     rights with respect to claims against a
         Rehabilitative Deposition for driving                  person in the business of designing,
         under the influence of alcohol or a                    manufacturing, repairing,        servicing or
         controlled substance in that accident;                 otherwise maintaining motor vehicles arising
                                                                out of a defect in such motor vehicle which
    2. Is operating a motor vehicle registered
                                                                is caused by or not corrected by an act or
         in another state;
                                                                omission in the course of such business,
    3. Intends to injure himself or another                     other than a defect in a motor vehicle which
         person, provided that an individual does               is operated by such business.
         not intentionally injure himself or                 C. An individual otherwise bound by the
         another person merely because his act                  limited tort election shall retain full tort
         or failure to act is intentional or done               rights if injured while an occupant of a
         with his realization that it creates a                 motor vehicle other than a private
         grave risk of causing injury if the                    passenger motor vehicle.




              Includes copyrighted material of Insurance Services Office, Inc., with its permission.
                                Copyright, Insurance Services Office, Inc., 1999
                                                                                                  PERSONAL AUTO
         SPLIT UNDERINSURED MOTORISTS LIMITS - PENNSYLVANIA (NON-STACKED)                           PP 04 16 07 90


                                                          SCHEDULE
                      UNDERINSURED MOTORISTS COVERAGE                       $              each person
                                                                            $              each accident



          Paragraph A. of the Limit of Liability provision in          person, the limit of liability shown in the
          the Underinsured       Motorists Coverage         -          Schedule or in the Declarations for each
          Pennsylvania (Non-Stacked) endorsement is                    accident    for    Underinsured      Motorists
          replaced by the following:                                   Coverage is our maximum limit of liability for
                                                                       all damages for "bodily injury" resulting from
          LIMIT OF LIABILITY                                           any one accident. This is the most we will
          A. The limit of liability shown in the Schedule              pay regardless of the number of:
             or in the Declarations for each person for                1. "Insureds";
             Underinsured Motorists Coverage is our
             maximum limit of liability for all damages,               2. Claims made;
             including damages for care, loss of services              3. Vehicles or premiums shown in the
             or death, arising out of "bodily injury"                     Declarations; or
             sustained by any one person in any one
             accident. Subject to this limit for each                  4. Vehicles involved in the accident.



         This endorsement must be attached to the Change Endorsement when issued after the policy is written.




PP 04 16 07 90                          Copyright, Insurance Services Office, Inc., 1990                            Page 1 of 1
                                                                                           PERSONAL AUTO
                                                                                              PP 04 20 07 90

        SPLIT UNINSURED MOTORISTS LIMITS – PENNSYLVANIA (NON-STACKED)


                                                    SCHEDULE


                  UNINSURED MOTORISTS COVERAGE                      $ ______________ each person
                                                                    $ ______________ each accident

                                                           This is the most we will pay regardless of the number
Paragraph A. of the Limit of Liability provision in the    of:
Uninsured Motorists Coverage – Pennsylvania (Non-              1. "Insureds";
Stacked) endorsement is replaced by the following:             2. Claims made;
LIMIT OF LIABILITY                                             3. Vehicles or premiums shown in the Declara-
A. The limit of liability shown in the Schedule or in             tions; or
   the Declarations for each person for Uninsured              4. Vehicles involved in the accident.
   Motorists Coverage is our maximum limit of liabil-
   ity for all damages, including damages for care,
   loss of services or death, arising out of "bodily in-
   jury" sustained by any one person in any one ac-
   cident. Subject to this limit for each person, the
   limit of liability shown in the Schedule or in the
   Declarations for each accident for Uninsured Mo-
   torists Coverage is our maximum limit of liability
   for all damages for "bodily injury" resulting from
   any one accident.
.

This endorsement must be attached to the Change Endorsement when issued after the policy is written.




PP 04 20 07 90                  Copyright, Insurance Services Office, Inc., 1990                    Page 1 of 1
         SPLIT LIABILITY LIMITS                                                                             PP 03 09 04 86

                                                           SCHEDULE

                       Bodily Injury Liability                        $                     each person

                                                                      $                     each accident
                       Property Damage Liability                      $                     each accident


         The first paragraph of the Limit of Liability               accident. The limit of liability shown in the
         provision in Part A is replaced by the following:           Schedule or in the Declarations for each
                                                                     accident for Property Damage Liability is our
         LIMIT OF LIABILITY                                          maximum limit of liability for all "property
         The limit of liability shown in the Schedule or in          damage" resulting from any one auto accident.
         the Declarations for each person for Bodily                 This is the most we will pay regardless of the
         Injury Liability is our maximum limit of liability          number of:
         for all damages, including damages for care,                     1. "Insureds;"
         loss of services or death, arising out of "bodily
         injury" sustained by any one person in any one                   2. Claims made;
         auto accident. Subject to this limit for each
                                                                          3. Vehicles or premiums shown in the Decla-
         person, the limit of liability shown in the
                                                                             rations; or
         Schedule or in the Declarations for each
         accident for Bodily Injury Liability is our                      4. Vehicles involved in the auto accident.
         maximum limit of liability for all damages for
         "bodily injury" resulting from any one auto

         This endorsement must be attached to the Change Endorsement when issued after the policy is written.




PP 03 09 04 86                           Copyright, Insurance Services Office, Inc., 1985
ADDITIONAL INSURED - LESSOR                                                                  AS 1187 11 90
                                                                                           (PP 03 19 08 86)
                                                  SCHEDULE


Additional Insured (Lessor)*


  * The Lessor as listed in the lease agreement on file with the Company.



Description of "your leased auto":                           2. "Your leased auto" means:
                                                                 (a) an auto shown in the Declarations or in
                                                                     this endorsement which you lease for a
Any liability and any required no-fault coverages                    continuous period of at least six months
afforded by this policy for "your leased auto"                       under a written agreement which
also apply to the lessor named in this                               requires you to provide primary
endorsement as an additional insured. This                           insurance for the lessor, and
insurance is subject to the following additional
provisions:                                                      (b) any substitute or replacement auto
                                                                     furnished by the lessor named in this
1. We will pay damages for which the lessor                          endorsement.
   becomes legally responsible only if the
   damages arise out of acts or omissions of:                3. If we terminate this policy, notice will also
                                                                be mailed to the lessor.
   (a) you or any "family member," or
                                                             4. The lessor is not responsible for payment of
   (b) any other person except the lessor or                    premiums.
       any employee or agent of the lessor
       using "your leased auto."                             5. The designation of the lessor as an
                                                                additional insured shall not operate to
                                                                increase our limits of liability.



This endorsement must be attached to the Change Endorsement when issued after the policy is written.




                               Copyright, Insurance Services Office, Inc., 1986
         NUCLEAR, BIOLOGICAL, CHEMICAL & MOLD EXCLUSION ENDORSEMENT                                AS 2221 04 05


         THIS EXCLUSION APPLIES TO ALL COVERAGES PROVIDED BY THIS
         POLICY INCLUDING ANY AND ALL ENDORSEMENTS
         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


         Aside from such losses caused by terrorism activities, we do not provide coverage for loss, damage,
         injury, liability, cost or expense, due to or as a consequence of, whether controlled or uncontrolled or
         however caused:
                a. Nuclear exposure, reaction or explosion including resulting fire, smoke, radiation or
                   contamination; and/or
                b. Biological or chemical attack or exposure to biological or chemical agents, or combination of
                   such agents, including resulting contamination or pollution.


         We do not provide coverage for loss, damage, injury, liability, cost or expense arising out of or
         aggravated by, in whole or in part, "mold, fungus, wet rot, dry rot, bacteria or virus."

         "Mold, fungus, wet rot, dry rot, bacteria or virus" means any type or form of fungus, rot, virus or
         bacteria. This includes mold, mildew and any mycotoxins, other microbes, spores, scents or
         byproducts produced or released by mold, mildew, fungus, rot, bacteria, or virus.

AS 2221 04 05                              © 2003 Liberty Mutual Insurance Company
         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         COVERAGE FOR DAMAGE TO YOUR AUTO EXCLUSION                                            PERSONAL AUTO
         ENDORSEMENT                                                                             PP 13 01 12 99

         With respect to the coverage provided by this endorsement, the provisions of the policy apply unless
         modified by the endorsement.

          I. Definitions                                         II. Part D - Coverage For Damage To Your Auto
             The following definition is added:                      The following exclusion is added:
             "Diminution in value" means the actual or               We will not pay for:
             perceived loss in market or resale value
             which results from a direct and accidental              Loss to "your covered auto" or any
             loss.                                                   "non-owned auto" due to "diminution in
                                                                     value".

         This endorsement must be attached to the Change Endorsement when issued after the policy is written.

PP 13 01 12 99                       Copyright, Insurance Services Office, Inc., 1999                            Page 1 of 1
         LOSS PAYABLE CLAUSE                                                                     PP 03 05 08 86

         Loss Payee:

         Loss or damage under this policy shall be paid, as interest may appear, to you and the loss payee
         shown in the Declarations or in this endorsement. This insurance with respect to the interest of the
         loss payee, shall not become invalid because of your fraudulent acts or omissions unless the loss results
         from your conversion, secretion or embezzlement of "your covered auto." However, we reserve the
         right to cancel the policy as permitted by policy terms and the cancellation shall terminate this
         agreement as to the loss payee's interest. We will give the same advance notice of cancellation to the
         loss payee as we give to the named insured shown in the Declarations.
         When we pay the loss payee we shall, to the extent of payment, be subrogated to the loss payee's
         rights of recovery.
         This endorsement must be attached to the Change Endorsement when issued after the policy is written.

PP 03 05 08 86                         Copyright, Insurance Services Office, Inc., 1986
